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              WELLS FARGO BANK, N.A.
          7
          8                              UNITED STATES DISTRJCT COURT
          9                            CENTRAL DISTRJCT OF CALIFORNIA
         10
         11   CAUDLEY SIMON, on behalf of                 Case No.
              himself, all others similarly situated,
         12                                               [Los Angeles County Superior Court
                                Plaintiff,                Case No.: 19STCV42777]
         13
                     vs.
         14                                               DEFENDANT WELLS FARGO BANK,
              WELLS FARGO BANK,                           N.A.'S NOTICE OF REMOVAL OF
         15   NATIONAL ASSOCIATION, a                     ACTION TO UNITED STATES DISTRICT
              National Banking Association; and           COURT PURSUANT TO 28 U.S.C. §§
         16   DOES 1 through 100, inclusively,            1332(d) AND 1441 (DIVERSITY)
         17                     Defendants.               Complaint Filed: December 2, 2019
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                                                    NOTICE OF REMOVAL
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          1          TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
          2   CENTRAL DISTRICT OF CALIFORNIA, PLAINTIFF AND HIS ATTORNEYS OF
          3   RECORD:
          4
          5          PLEASE TAKE NOTICE THAT, based on the following allegations, Defendant
          6   Wells Fargo Bank, N.A. ("Wells Fargo" or "Defendant") hereby removes the state court
          7   action described below.
          8
          9   I.     THE STATE COURT ACTION
         10          On December 2, 2019, Plaintiff Caudley Simon ("Plaintiff') commenced a class
         11   action complaint against Defendant in the Superior Court of the State of California in and
         12   for the County of Los Angeles, entitled Caudley Simon v. Wells Fargo Bank, National
         13   Association, et al., as case number 19STCV42777. True and correct copies of the Class
         14   Action Complaint ("Complaint") and Civil Case Cover Sheet are attached hereto as
         15   Exhibit A. A true and correct copy of the summons, filed on December 2, 2019, is
         16   attached hereto as Exhibit B.
         17          Plaintiff served Defendant with the Complaint and Summons by personal service
         18   on December 10, 2019. A copy of Corporation Service Company's Notice of Service of
         19   Process, showing the date of service, is attached hereto as Exhibit C. This Notice of
         20   Removal is filed within 30 days from the date upon which Defendant was served and is
         21   within the time for removal provided by law. See 28 U.S.C. § 1446(b).
         22          This is a civil action of which this Court has original jurisdiction under 28 U.S.C.
         23   section 1332(d), and is one that may be removed to this Court by Defendant pursuant to
         24   the provisions of28 U.S.C. section 1441, in that it is a class action in which Plaintiff is a
         25   citizen of a different state than Defendant, the putative class has more than 100 members,
         26   and the aggregate amount in controversy exceeds the sum of $5,000,000, exclusive of
         27   interest and costs.
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          1   II.    REMOVAL PURSUANT TO 28 U.S.C. SECTIONS 1332(d), 1441
          2          A.     Diversity of Citizenship
          3          Federal jurisdiction under the Class Action Fairness Act of 200 5 ("CAF A") is

          4   established by showing that the parties satisfy, among other requirements, "minimal

          5   diversity," i.e., that "any inember ofa class of plaintiffs is a citizen of a State different

          6   from any defendant." 28 U.S.C. § 1332(d)(2)(A); Abrego Abrego v. The Dow Chemical

          7   Co., 443 F.3d 676, 680 (9th Cir. 2006) ("Section 1332(d) thus abandons the complete
          8   diversity rule for covered class actions") (citing Bush v. Cheaptickets, Inc., 425 F.3d 683,

          9   684) (9th Cir. 2005) (noting that 28 U.S.C. § 1332(d) requires only "minimal diversity").

         10   As discussed below, minimal diversity is satisfied in this case because Plaintiff is a citizen

         11   of the State of California and Wells Fargo is a citizen of the State of South Dakota.

         12                  1.     Plaintiff is a Citizen of California
         13          For diversity purposes, citizenship of an individual is detennined by the

         14   individual's domicile at the time that the lawsuit is filed. Lew v. Moss, 797 F.2d 747, 749-

         15   50 (9th Cir. 1986). "A person's domicile is her permanent home, where she resides with

         16   the intention to remain or to which she intends to return." Kaneter v. Warner-Lambert

         17   Co., 265 F.3d 853, 857 (9th Cir. 2001). As the Ninth Circuit observed in Lew,
         18   determining an individual's domicile "involves a number of factors," including current

         19   residence, place of employment, and other factors such as voting registration and voting
         20   practices, location of personal and real property, location of brokerage and bank accounts,

         21   location of spouse and family, membership in unions and other organizations, driver's

         22   license and automobile registration, and payment of taxes. Lew, 797 F.2d at 750

         23   (emphases added).
         24          Plaintiffs Complaint alleges that Plaintiff "is, and at all relevant times mentioned

         25   herein [sic], an individual residing in the State of California" and that "Plaintiff worked

         26   for Defendants as a non-exempt, hourly employee from approximately November 20,

         27   2014 through on or about November 24, 2018." See Exhibit A, 114, 18.

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          1           Given that Plaintiff remains a resident of California (even after the termination of
          2    his employment with Wells Fargo), Plaintiff has demonstrated an intent to remain in the
          3    State of California. Defendant is informed and believes that Plaintiff was, and still is, a
          4    citizen of the State of California. Accordingly, for diversity purposes, Plaintiff is a citizen
          5    of California.
          6                     2.   Wells Fargo is a Citizen of South Dakota
          7           Wells Fargo is a national banking association. The citizenship of a national
          8    banking association is governed by 28 U.S.C. section 1348, which states that national
          9    banking associations are "deemed citizens of the States in which they are respectively
         10    located.". 28 U.S.C. § 1348 (emphasis added).
         11           Wells Fargo's main office, according to its articles of association, is in Sioux Falls,
         12    South Dakota. Attached hereto as Exhibit D is a true and correct copy of the Articles of
         13    Association for Wells Fargo, as issued by the Office of the Comptroller of the Currency,
         14    Administrator ofNational Banks, reflecting that Wells Fargo (at Article II, §1) has its
         15    main office in Sioux Falls, South Dakota. 1
         16           The Ninth Circuit has unequivocally held that Wells Fargo is a citizen only of
         17    South Dakota for diversity purposes. Rouse v. Wachovia Mortgage, FSB, 2 747 F.3d 707,
         18    709 (9th Cir. 2014) ("under 28 U.S.C. § 1348, a national bank is a citizen only of the state
         19    in which its main office is located'') (emphasis added). In addition, the United States
         20    Supreme Court, after a thorough examination of the historical versions of Section 1348
         21 . and the existing case law, held that "a national bank, for § 1348 purposes, is a citizen of
         22    the state in which its main office, as set forth in its articles of incorporation, is located."
         23    Wachovia Bankv. Schmidt, 546 U.S. 303,307 (2006). Wells Fargo's citizenship for
         24    diversity purposes, therefore, is South Dakota      and only South Dakota. Rouse, 747 F.3d
         25    at 715 ("Accordingly, Wells Fargo is a citizen only of South Dakota, where its main office
         26    1 Inthe contemporaneously-filed Request for Judicial Notice, Wells Fargo requests that
         27    the Court take judicial notice of its Articles of Association.
               2
                 Wachovia Mortgage is now a division of Wells Fargo. Rouse, 747 F.3d at 709.
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          1   is located").
          2          Pursuant to this binding authority, Wells Fargo is a citizen only of South Dakota.
          3   As Plaintiff is a citizen of California, CAFA's minimal diversity requirement is satisfied.
          4          B.       The Putative Class Action Exceeds 100 Members
          5          Federal jurisdiction under CAFA may be invoked where the number of putative
          6   class members exceeds 100. 28 U.S.C. § 1332(d)(5)(B); see also Dart Cherokee Basin
          7   Operating Co., LLC v. Owens ("Dart"), 135 S. Ct. 547, 552 (2014).
          8          This case is a wage and hour class action alleging claims on behalf of all current
          9   and former Wells Fargo team members in the State of California who were employed in
         10   non-exempt positions at any time in the four years prior to the filing of the Complaint.
         11   See Exhibit A, ,r 10. 3 Plaintiff does not specify the exact number of putative class
         12   members, but alleges that the putative class is "so numerous that the individual joinder of
         13   each individual class member is impractical." Exhibit A, ,r 12.
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         26    Wells Fargo disputes that Plaintiff can represent all non-exempt California team
              members given the requirements for maintaining a class action but, for purposes of this
         27   Notice of Removal, Wells Fargo takes Plaintiffs pleading at its face to determine whether
              CAFA requirements are met.
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          1           The number of putative class members (current and former California non-exempt
          2   team members who worked in the four years prior to the filing of Plaintiffs Complaint)
          3    exceeds 45,000 individuals, 4 clearly meeting CAFA's 100 class member requirement.
          4           C.     The Amount in Controversy Exceeds $5,000,000
          5           For removal purposes under CAFA, the aggregate amount in controversy must
          6    exceed $5,000,000, exclusive of interest and costs. 28 U.S.C. § 1332(d)(2)(6). Where the
          7   plaintiffs complaint makes a good-faith demand for monetary relief in a stated sum, that
          8    sum is deemed to be the amount in controversy. 28 U.S.C. § 1446(c)(2). Where, as here,
          9   · the complaint does not state the amount in controversy, the defendant's notice of removal
         10    may do so. Dart, 135 S. Ct. at 551 (citing 28 U.S.C. § 1446(c)(2)(A)).
         11           As the U.S. Supreme Court held in Dart, the notice of removal need only plausibly
         12    allege the amount in controversy; the defendant's "short and plain" statement of the
         13    grounds for removal need not contain evidentiary submissions. Dart, 135 S. Ct. at 554.
         14    The Supreme Court also observed that "no antiremoval presumption attends cases
         15    invoking CAFA, which Congress enacted to facilitate adjudication of certain class actions
         16    filed in federal court." Id. Similarly, the Ninth Circuit has noted that "Congress intended
         17    CAFA to be interpreted expansively." Ibarra v. Manheim Investments, Inc., 775 F.3d
         18    1193, 1197 (9th Cir. 2015) (citing Senate Report on CAFA, S. Rep. 109-14, at p. 42 (Feb.
         19
               4
                 Plaintiffs putative class is defined as all California non-exempt team members who
         20    worked for Wells Fargo during the time period beginning four years prior to the filing of
         21    the Complaint. See Exhibit A, ,r 10. Plaintiff further alleges that Defendant "maintained a
               policy or practice" of not providing legally compliant meal and rest periods, failing to pay
         22    employees for all hours worked, not reimbursing all necessary business expenses, and
               failing to provide employees with accurate, itemized wage statements. See Exhibit A, ,r,r
         23
               53, 65, 83, 93, 110, 116. While Wells Fargo disputes maintaining any illegal policies and
         24    disputes that any team member experienced an alleged wage and hour violation, for the
               purposes of this removal, Plaintiffs own allegations that Wells Fargo employed policies
         25    and practices that were applied company-wide supports the inference that Plaintiffs
         26    putative class is alleged to encompass all California non-exempt team members who
               worked for Wells Fargo during the relevant period. Wells Fargo's review of its records
         27    shows that it has employed at least 45,000 individuals in non-exempt positions in
               California during the time period from December 2, 2015 through November 30, 2019.
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          1   28, 2005), which counsels that if a federal court is "uncertain" about whether all matters in
          2   controversy exceed $5,000,000, "the court should err in favor of exercising jurisdiction
          3   over the case") (emphasis added)).
          4          The "amount in controversy" is determined by the amount of damages that is the
          5   subject of the action. Kroske v. US. Bank, 432 F.3d 976, 980 (9th Cir. 2005). In other
          6   words, it is "the amount involved in the underlying dispute." Theis Research, Inc. v.
          7   Brown & Bain, 400 F.3d 659,664 (9th Cir. 2005); see also Rea v. Michaels Stores Inc.,
          8   742 F.3d 1234, 1237 (9th Cir. 2014) ("the general rule is that 'the amount in controversy

          9   is determined from the pleadings as they exist at the time a petition for removal is filed"').
         10          Plaintiff purports to assert seven causes of action against Defendant on behalf of

         11   the putative class: (i) failure to provide meal periods (Lab. Code§§ 204,223,226.7, 512
         12   and 1198); (ii) failure to provide rest periods (Lab. Code §§ 204, 223, 226.7 and 1198);

         13   (iii) failure to pay hourly wages (Lab. Code§§ 223, 510, 1194, 1194.2, 1197, 1997.1 and
         14   1198); (iv) failure to indemnify (Lab. Code§ 2802); (v) failure to provide accurate written
         15   wage statements (Lab. Code§§ 226(a)); (vi) failure to timely pay all final wages (Lab.
         16   Code§§ 201, 202 and 203); and (vii) unfair competition (Bus. & Prof. Code§§ 17200 et
         17   seq.). See Exhibit A,   ,r,r 45-147.   As demonstrated below in relation to just a few of the
         18   causes of action, the aggregate amount in controversy clearly exceeds the sum of
         19   $5,000,000, exclusive of interests and costs. 5
         20                 1.     First and Second Causes of Action {Failure to Provide Meal and

         21                        Rest Periods)

         22          Plaintiff alleges that he and the putative class members were "regularly not
         23   provided" with compliant meal and rest periods. Exhibit A, ,r,r 30, 32.
         24          Under California's Labor Code, an employee can recover one hour of pay at the
         25   employee's regular rate of compensation for each work day that a compliant meal and/or
         26   5
                Wells Fargo's demonstration that the amount in controversy exceeds the $5,000,000
         27   minimum is not an admission of liability or concession that Plaintiff is entitled to recover
              this (or any) amount.
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          1   rest period is not provided. See Cal. Labor Code§ 226.7. If neither a required meal

          2   period nor rest period are provided in the same day, the employee potentially may recover

          3   one hour of pay for the missed meal period plus one hour of pay fo:i; the missed rest period

          4   (as opposed to one hour for the entire day).

          5          Assuming that one-quarter of the putative class members were denied just one

          6   compliant meal period and one compliant rest period every four weeks (Plaintiff will

          7   undoubtedly claim more), and assuming 102 weeks worked in a relevant position by each

          8   non-exempt team member during the four years prior to the filing of Plaintiffs

          9   Complaint, 6 the amount in controversy relative to Plaintiffs first and second causes of

         10   action is at least $12,054,487.50 (i.e., (102 7 I 4 = 25.5 weeks with a meal period violation

         11   + 25.5 weeks with a rest period violation= 51 weeks (x) 11,250 members in one-quarter
         12   of the putative class (x) average hourly rate of $21.01 per hour8).

         13          2.     Third Cause of Action (Failure to Pay Hourly Wages)
         14          Plaintiff alleges, among other things, that he and putative class members were not

         15   paid for 20-30 minutes of work time "approximately once a week" due to "log in errors or

         16   computer crashes" and allegedly unpaid time spent waiting for the computer system to be

         17   fixed. Exhibit A,   ,r,r 19-21, 24.
         18

         19   6
                The California Supreme Court has held that the "additional hour of pay" for failure to
         20   provide meal and/or rest breaks under Labor Code Section 226.7 constitutes wages, rather
              than a penalty. Murphy v. Kenneth Cole Productions, Inc., 40 Cal. 4th 1049, 1114 (2007).
         21   Moreover, "any business act or practice that violates the Labor Code through failure to
         22   pay wages is, by definition(§ 17200), an unfair business practice," and thus subject to the
              UCL's four-year statute of limitations. Cortez v. Purolator Air Filtration Products Co.,
         23   23 Cal. 4th 163, 178-79 (2000).
              7
         24     As demonstrated, Wells Fargo does not assume that every non-exempt team member
              worked throughout the entire four-year class period. Rather, a review of Wells Fargo's
         25   records indicates that non-exempt employees in California worked, on average, 102 weeks
              in a relevant position over this four-year period.
         26   8
                Plaintiff does not state his hourly wage in the Complaint. A review of Wells Fargo's
         27   records indicates that the average hourly rate for non-exempt team members in the
              putative class was $21.01.
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          1          Addressing just this allegation, and assuming 20 minutes of unpaid time once a

          2   week (Plaintiff will undoubtedly claim more), and again assuming this affected only one-

          3   quarter of the putative class, this single claim more than satisfies CAFA's amount-in-

         4    controversy requirement:

          5                  •    20 minutes (0.33 hours) of allegedly unpaid time per week;

          6                  •    An average of 102 weeks worked per non-exempt team member in a

          7                       relevant position during the four years prior to the filing of Plaintiff's

          8                       Complaint;

          9                  •    At least 11,250 members in one-quarter of the putative class; and

         10                  •    An average hourly rate of $2 LO I/hour.

         11          Using these foundational assumptions, the amount of alleged unpaid wages "in

         12   controversy" is at least $7,955,961.75. 9 An amount is "in controversy" if Plaintiff alleges

         13   it and Wells Fargo is forced to defend it. See, e.g., Kroske, 432 F.3d at 980; Rea, 742 F.3d

         14   at 1237 ("the general rule is that 'the amount in controversy is determined from the

         15   pleadings as they exist at the time a petition for removal is filed").

         16                  3.         Sixth Cause of Action (Waiting Time Penalties)
         17           Under his sixth cause of action, Plaintiff alleges that Wells Fargo willfully failed to

         18   pay him and the putative class members all wages due at the time of discharge, and seeks

         19   "waiting time penalties" pursuant to California Labor Code sections 201-203 on behalf of

         20   non-exempt team members no longer employed by Wells Fargo. See Exhibit A, ,r,r 119-

         21   129. Specifically, he alleges that he received his final paycheck approximately one week

         22   late. See id. at ,r 44.

         23           Under California Labor Code section 203, an employee can recover a "waiting

         24   time" penalty ofup to the equivalent of thirty (30) days of pay. See Cal. Labor Code§

         25   203; see also Mamika v. Barca, 68 Cal. App. 4th 487,494 (Cal. Ct. App. 1998) ("Under

         26

         27   9
               Plaintiff also seeks attorneys' fees pursuant to Labor Code section 1194, which would
              push the amount in controversy higher. See Exhibit A, ,r 47.
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           1   section 203, an employee's rate of pay must be calculated as a daily figure, which can then

           2   be multiplied by the number of days of nonpayment for a maximum of 30 days.").

           3   Furthermore, "[s]uit may be filed for these penalties at any time before the expiration of

           4   the statute of limitations on an action for the wages from which the penalties arise." Cal.

           5   Labor Code§ 203. 10

           6          At least 16,000 putative class members have left Wells Fargo's employ in the

           7   three-year period preceding the filing of this suit. Assuming, based on Plaintiffs

           8   allegation, that putative class members received their final check one week ( or seven days)

           9   late, the amount of waiting time penalties that Plaintiff.seeks on behalf of just one former

          10   non-exempt team member is $1,176.56 (average hourly rate of$2I.0I per hour (x) 8 hours

          11   per day= daily wage rate of $168.08 (x) 7 days= $1,176.56). Assuming that just one-

          12   tenth of the 16,000 putative class members whose employment terminated during the

          13   relevant time period received their final check seven days late, the aggregate amount of

          14   penalties Plaintiff seeks in connection with his sixth cause of action alone is at least

          15   $1,882,496 (i.e., $1,176.56 per former non-exempt California team member (x) 1,600
          16   (one-tenth of the non-exempt team members who left Wells Fargo's employ within the

          17   three-year statutory period)).

          18                 4.      Summary re: Amount in Controversy
          19          As illustrated above, using conservative assumptions, the amount in controversy for

          20   Plaintiffs first, second, third, and sixth causes of action alone is at least $21,892,945.20

          21   [$12,054,487.50 (alleged meal and rest period violations)+ $7,955,961.75 (wages

          22

          23   10
                 Unlike the claims for failure to provide meal and rest periods and failure to pay wages
          24   discussed above, Plaintiffs waiting time penalty claim is subject to a three-year statute of
               limitations, notwithstanding his UCL claim. ·see Montecino v. Spherion Corp., 427 F.
         25    Supp. 2d 965, 967-68 (C.D. Cal. 2006) (finding that "it is clear that payments made under
          26   § 203 are penalties, rather than wages," and holding that three-year statute of limitations
               applies, notwithstanding UCL claim); Pineda v. Bank ofAmerica, NA., 50 Cal. 4th 1389,
          27   1402 (2010) ("We thus hold section 203 penalties cannot be recovered as restitution under
               the UCL").
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           1   allegedly owed)+ $1,882,496 (alleged waiting time penalties)]. This is significantly more
           2   than the jurisdictional minimum of $5,000,000 set forth in 28 U.S.C. section 1332(d)(2).
           3           This amount in controversy does not even include amounts relating to Plaintiffs
           4   fourth and fifth causes of action (alleged failure to reimburse business expenses and
           5   alleged failure to provide accurate wage statements, respectively), for which Plaintiff
           6   ·seeks to recover additional damages and penalties. Nor does it include attorneys' fees
           7   sought by Plaintiff in connection with the alleged Labor Code violation~. See Exhibit A,
           8   pp. 23-24, Prayer for Relief; see also, e.g., Lowdermilk v. US. Bank Nat'l Ass 'n, 479 F.3d
           9   994, 1000 (9th Cir. 2007) (''[W]here the underlying statute authorizes an award of
          10   attorneys' fees, either with mandatory or discretionary language, such fees may be
          11   included in the amount in controversy."), overruled on other grounds as recognized by
          12   Rodriguez v. AT & T Mobility Serv. LLC, 728 F.3d 975, 976-77 (9th Cir. 2013).
          13           .Therefore, given the foregoing, this Court has original jurisdiction over this action
          14   pursuant to 28 U.S.C. section 1332(d)(2), and removal is proper under 28 U.S.C. section
          15   1441.
          16   III.    PROCESS, PLEADINGS AND ORDERS
          17           The following exhibits are attached to this Notice of Removal:
          18               •   Attached as Exhibit A are true and correct copies of the Complaint and Civil
          19                   Case Cover Sheet, filed with the Superior Court of the State of California,
          20                   County of Los Angeles on December 2, 2019.
          21               • . Attached hereto as Exhibit B is a true and correct copy of the Summons,
          22                   filed with the Superior Court of the State of California, County of Los
          23                   Angeles on December 2, 2019.
          24               •   Attached hereto as Exhibit C is a true and correct copy of Corporation
          25                   Service Company's Notice of Service of Process, showing that Wells Fargo
          26                   was personally served on December 10, 2019.
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           1                •   Attached hereto as Exhibit D is a true and correct copy of the Articles of
           2                    Association for Wells Fargo Bank, National Association, as issued by the
           3                    Office of the Comptroller of the Currency, Administrator of National Banks.
           4                •   Attached hereto as Exhibit Eis a copy of Wells Fargo's Answer to
           5                    Plaintiffs Class Action Complaint, which was served and filed with the
           6                    Superior Court of the State of California in and for the County of Los
           7                    Angeles, on January 8, 2020, prior to the removal of this action.
           8                •   Attached hereto as Exhibit Fis a copy of the Notice of Case Assignment
           9                    filed by the Court on December 2, 2019.
          10                •   Attached hereto as Exhibit G is a true and correct copy of the Court Order re
          11                    Newly Assigned Case and Initial Status Conference Order filed by the Court
          12                    on December 20, 2019.
          13          Wells Fargo is informed and believes that Exhibits A, B, E, F, and G constitute all
          14   process, pleadings and orders filed and received by Wells Fargo in this action.
          15          On this or the next business day, notice of this removal is being given to Plaintiff
          16   and to the Clerk of the Los Angeles Superior Court. Copies of these notices are attached
          17   hereto as Exhibits H and I respectively.
          18          The proof of service of the Notice to Adverse Party of Removal will be filed with
          19   this Court immediately after the Superior Court filing is accomplished and the document
          20   is served.
          21
               DATED: January 8, 2020                   KADING BRIGGS LLP
          22
                                                        THERESA A. KADING
          23
          24                                            By: Isl Theresa A. Kading
          25                                                         THERESA A. KADING

          26                                            Attorneys for Defendant
                                                        WELLS FARGO BANK, N.A.
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                                                              EXHIBIT "A" ·




                  EXHIBIT "A"
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         Shaun Setareh (SBN 204514)                                     CONFQnMt:) COPY
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                                                                       Supr~rior r.ourt of CaiHornia
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     8

     9                       SUPERIOR COURT OF 1HE STATE OF CALIFORNIA

    10                              FOR THE COUNTY OF LOS ANGELES

    11
    12   CAUDLEY SIMON, on behalf of himself, all
         others similarly situated,
                                                         Case No.    19 STCV 427 77.
    13                                                   CLASS ACTION
                       Plaintiff.
    14                                                   COMPLAINT
                vs.:
    15                                                  1. Failure to Provide Meal Periods (Lab. Code
       WELLS FARGO BANK, NATIONAL                          §§ 204,223,226.7, 512 and 1198);
    16 ASSOCIATION, a National Banking                  2. Failure to Provide Rest Periods (Lab. Code
       Association; and DOES 1 through l 00,               §§ 204,223,226.7 and 1198);
    17 :inclusively                                     3. Failure to Pay Hourly Wages (Lab. Code§§
       Defendants.                                         223,510, 1194, 1194.2, 1197, 1997.1 and
    18                                                      1198);
                                                        4. Failure to Indemnify (Lab. Code § 2802);
    19                                                   5. Failure to Provide Accurate Written Wage
                                                            Statements (Lab. Code§§ 226(a));
    20                                                   6. Failure to Timely Pay All Final Wages
                                                            (Lab. Code§§ 201,202 and 203);
    21                                                  7. Unfair Competition (Bus. & Prof. Code§§
                                                           17200 et seq.);
    22
                                                        JURY TRIAL DEMANDED
    23

    24
    25
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    28


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    1          COMES NOW, Plaintiff CAUDLEY SIMON, JR. ("Plaintiff'), on behalf of himself, all
   2 others similarly situated, complains and alleges as follows:

    3                                           INTRODUCTION

    4          1.     Plaintiff brings this class action again~ Defendant WELLS FARGO BANK,
   5    NATIONAL ASSOCIATION, a National Banking Association; and DOES 1 through 100,
   6 inclusively, a (collectively referred to as "Defendants") for alleged. violations of the Labor Code
   7 and Business and Professions Code. As set forth below, Plaintiff alleges that Defendants have:
    8                 (I)     failed to provide him and all other similarly situated individuals with meal

   9                          periods;

   10                 (2)     failed to provide them with rest periods;

   11                 (3)     failed to pay them premium wages for missed meal and/or rest periods;

   12                 (4)     failed to pay them premium wages for missed meal and/or rest periods at the

   13                         regular rate of pay;

   14                 {5)     failed to pay them at least minimum wage for iµl hours worked;

   15                  (6)    failed to pay them overtime wages at the correct rate;

   16                  (7)    failed to reimburse them for all necessary business expenses;

   17                  (8)    failed to provide them with accurate written wage statements; and

   18                  (9)    failed to timely pay them all of their final wages following separation of

   19                         employment

   20          Based on these alleged Labor Code violations, Plaintiff now brings this class action to
   21 recover unpaid wages, restitution and related relief on behalf ofhimself, all others similarly

   22 situated.

   23                                     JURISDICTON AND VENUE

   24          2.      This Court has subject matter jurisdiction to hear this case because the monetary
   25 damages and restitution sought by Plaintiff from Defendants conduct exceeds the minimal
   26 jurisdiction of the Superior Court of the State of California.
   27          3.      Venue is proper in the County of Los Angeles pursuant to Code of Civil Procedure

   28 sections 395(a) and 395.5 in that liability arose in this county because at least some of the

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   l transactions that are the subject matter of this Complaint occurred therein and/or each defendant is
   2 found, maintains offices, transacts business and/or has an agent therein.

   3                                                  PARTIES

   4           4.     Plaintiff CAUDLEY SIMON is, and at all r,elevant times mentioned herein, an
   5 individual residing in ~e State of California.
   6           5.     Plaintiff is informed and believes, and thereupon alleges that Defendant WELLS
   7 FARGO BANK, NATIONAL ASSOCIATION is, and at all relevanttimes mentioned herein, a
   8 national banking association doing business in the State of California.

   9           6.     Plaintiff is ignorant of the true names and capacities of the defendants sued herein as
  l O DOES 1 through 50, inclusive, and therefore sues these defendants by such fictitious names.

  11 Plaintiff will amend this Complaint to allege the true names and capacities of the DOE defendants
  12 when ascertained. Plaintiff is informed and believes, and thereupon alleges that each of fue

  13 fictitiously named defendants are responsible in some manner for the occurrences, acts and
  14 omissions alleged h ~ and fuat Plaintiff's alleged damages were proximately caused by these
  15 defendants, and each of them. Plaintiff will amend this complaint to allege both the true names and

  16 capacities of the DOE defendants when ascertained.

  17          7.      Plaintiff is informed and believes, and thereupon alleges that, at all relevant times
  18 mentioned. herein, some or all of the defendants were the representatives, agents, employees,
  19 partners, directors, associates, joint venturers, principals or co-participants of some or all of fue

  20 other defendants, and in doing the fuings alleged herein, were acting within the course and scope of
  21   such relationship and with the full knowledge, consent and ratification by such oilier defendants.

  22          8.      Plaintiff is informed and believes, and thereupon alleges that, at all relevant times
  23 mentioned herein, some of the defendants pursued a common course of conduct, acted in concert
  24 and conspired with one another, and aided and abetted one another to accomplish the occurrences,
  25 acts and omissions alleged herein.
  26                                         CLASS ALLEGATIONS

  27           9.     This action has been brought and may be maintained as a class action pursuant to
  28 Code of Civil Procedure section 382 because there is a well-defined community of interest among

                                                          2
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    1 the persons who comprise the readily ascertainable classes defined below and because Plaintiff is
   2 unaware of any difficulties likely to be encountered in managing this case as a class action.

    3          10.     Relevant Time Period: The relevant time period is defined as the time period
    4 beginning four years prior to the filing of this action until judgment is entered.

    5          Hourly Employee Class: All persons employed by Defendants and/or any staffing agencies
               and/or any other third parties in hourly or non-exempt positions in California during the
    6          Relevant Time Period.

    7                  Meal Period Sub-Class: AIi Hourly Employee Class members who worked in a
                       shift in excess of five hours during the Relevant Time Period.
    8
                       Rest Period Sub-Class: All Hourly Employee Class members who worked a shift
    9                  of at least three and one-half (3 .5) hours during the Relevant Time Period.

   10                  Wage Statement Penalties Sub-Class: All Hourly Employee Class members
                       employed by Defendants in California during the period beginning one year before
   11                  the filing of this action and ending when :fina~ judgment is entered.

   12                  Waiting Time Penalties Sub-Class: All Hourly Employee Class members who
                       separated from their employment with Defendants during the period beginning three
   13                  years before the filing of this action and ending when final judgment is entered.

   14          UCL Class:: All Hourly Employee Class members employed by Defendants in California
               during the Relevant Time Period. ·
   15
                Expense Reimbursement Class: All persons employed by Defendants in California who
   16         · incurred business expenses during the Relevant Time Period.

   17
                11.     Reservation of Rights: Pursuant to Rule of Court 3.765(b), Plaintiff reserves the
   18
        right to amend or modify the class definitions with greater specificity, by :further division into sub-
   19
        classes and/or by limitation to particular issues.
   20
                12.     Nnmerosity: The class members are so numerous that the individual joinder of each
   21
        individual class member is impractical. While Plaintiff does not currently know the exact number
   22
        of class members, Plaintiff is informed and believes, and thereupon alleges that the actual number
   23
        exceeds the minimum required for numerosity under California law.
   24
                13.     Commonality and Predominance: Common questions oflaw and fact exist as to
   25
        all class members and predominate over any questions which affect only individual class members.
   26
        These common questions include, but are not limited to:
   27
                        A.      Whether Defendants maintained a policy or practice of failing to provide
   28


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    1.                 employees with their meal periods;
    2            B.    Whether Defendants maintained a policy or practice of failing to provide
    3                  employees with their rest periods;
    4            C.    Whether Defendants failed to pay premium wages to class members when

    5                  they have not been provided with required meal and/or rest periods;
    6            D.    Whether Defendants failed to pay minimum and/or overtime wages to class
    7                  members as a result of policies that fail to provide meal periods in accordance
    8                  with California law;

    9            E.    Whether Defendants failed to pay miniru.um and/or overtime wages to class

   10                  members for all time worked;

   11            F.    Whether Defendants used payroll formulas that systematically fail to account
   12                  for non-discretionary bonuses and/or other applicable remuneration when

   13                  calculating regular rates of pay for class members;

   14            G.    Whether Def~dants failed to pay o~me wages to class ttj.embers as a
   15                  result of incorrectly calculating their regular rates of pay;

   16            H.    Whether Defendants failed to pay premium wages to class members based on

   17                  their respective "regular rates of compensation" by not including

   18                  commissions and/or other applicable remuneration in calculating the rates at

   19                  which those wages are paid;

  20             I.    Whether Defendants failed to reimburse class members for al) necessary

  21                   business expenses incurred during the discharge of their duties;

  22             J.    WhetherDefendants failed to provide class members with accurate written

  23                   wage statements as a result of providing them with written wage statements
   24                  with inaccurate entries for, among other things, amounts of gross and net
   25                  wages, and total hours worked;

   26            K..   Whether Defendants used pay cards to pay class .members;

   27            L.    Whether class members inclliTed fees in cashing pay cards;
   28            M.    Whether class members have been ahle to redeem pay cards for their full cash

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    1                           value;

   2                    N.      Whether Defendants applied policies or practices that result in late and/or

    3                           incomplete final wage payments;

    4                   0.     Whether Defendants are liable to class members for waiting time penalties

    5                           under Labor Code section 203;

    6                   P.      Whether class members are entitled to restitution of money or property that

    7                           Defendants may have acquired from them through unfair competition;

    8           14.     fuicality: Plaintiffs claims are typical of the other class members' claims.
    9 Plaintiff is informed and believes and thereupon alleges that Defendants have a policy or practice of
   10 failing to comply with the Labor Code and Business and Professions Code as alleged in this
   11   Complaint.

   12           15.     Adequacy of Class Representative: Plaintiff is an adequate class representative in
   13   that he has no interests that are adverse to, or otherwise conflict with, the interests of absent class

  -14 members and is d¢icated to vigorously prosecuting this action on their behalf. Plaintiff will fairly

   15 and adequately represent and protect the interests of the other class members.
   16           16.     Adequacy of Class Counsel: Plaintiff's counsel are adequate class counsel in that
   17 they have no known conflicts of interest with Plaintiff or absent class members, are experienced in

   18   wage and hour class action litigation, and are dedicated to vigorously prosecuting this action on

   19 behalf of Plaintiff and absent class members.

   20           17.     Superiority: A class action is vastly superior to other available means fur fair and
   21   efficient adjudication of the class members' claims and would be beneficial to the parties and the

   22 Court. Class action treatment will allow a number of similarly situated persons to simultaneously

   23   and efficiently prosecute their common claims in a single forum without the unnecessary

   24 duplication of effort and expense that numerous individual actions would entail. In addition, the

   25 monetary amounts due to many individual class members are likely to be relatively small and would

   26 thus make I difficult, if not impossible, for individual class members to both seek and obtain relief.

   27 Moreover. a class action will serve an important public interest by permitting class members to

   28   effectively pursue the recovery of monies owed to them. Further, a class action will prevent the

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   l   potential for inconsistent or contradictory judgments inherent in individual litigation.

   2                                       GENERAL ALLEGATIONS
   3           18.    Plaintiff worked for Defendants as a non-exempt, hourly employee from
   4 approximately November 20, 2014 through on or about November 24, 2018.
   5                                             Clock In Process
   6          19.     Plaintiff and putative class was trained to clock in for each work shift using a
   7 desktop computer. Plaintiff and the putative class were required to first turn on their computer and
   8 wait for it to load. After Plaintiff and the putative class entered their useroame and password, their

   9 computer would proceed to load to the desktop while other programs were started in the background

  10 automatically as part of the normal boot up process.

  11          20.     Approximately once a week, Plaintiff and the putative class would encounter login
  12 errors or computer crashes that would require them to wait 20-30 minutes to clock in. The entire
 . 13 time spent waiting for the computer system to be fixed would not be accurately recorded and
  14 therefore resulted in ~laintiff and the putative class not being paid for all hours worked.
  15          21.     Accordingly, by the time Plaintiff and the putative class clocked in, twenty to thirty
  16 minutes or more may have already passed- all of which were not properly recorded as time worked
  17 and which resulted in Plaintiff and the putative class not being paid for all hours worked by
  18 Defendants.

  19                                           Off-the-Clock Work

  20          22.     Plaintiff and the putative class were not paid all wages earned as Defendants
  21   directed, permitted or otherwise encouraged Plaintiff and the putative class to perform off-the-clock

  22 work.

  23          23.     On a weekly basis, Plaintiff and the putative class were required to meet with their

  24 supervisor to go over their timesheets. During these meetings, Plaintiff and the putative class were

  25 instructed by their supervisors to alter their timesheets to reflect meal periods that they did not
  26 receive and/or shave-off time to limit overtime wages owed. On occasions, supervisors would
  27 themselves unilaterally alter Plaintiff's and the putative class' timesheets to reflect meal periods that
  28 they did not receive and/or shave-off time to limit overtime wages owed. Plaintiff and the putative

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    1 class regularly performed work after their scheduled work hours and were not paid for this time.

   2    Plaintiff and the putative class were instructed to perform certain duties such as clean the tables,

    3   take out the trash, and other related duties after they had already clocked out and were not paid for

    4 the time spent perfonning these additional duties.

    5           24.    Additionally, Plaintiff and the putative class were required to work off-the-clock

    6 when the computer system crashed and they were unable to log-in. Approximately once a week,
    7 Plaintiff and the putative class would encounter login errors or computer crashes that would require

    8 them to wait 20-30 minutes to clock in. The entire time spent waiting for the computer system to be

    9   fixed would not be accurately recorded and therefore resulted in Plaintiff and the putative class not

   10 being paid for all hours worked.

   11           25.     As a result of performing off-the-clock work that was directed, pennitted or

   12 otherwise encouraged by Defendants, Plaintiff and the putative class should have been paid for this

   13 time. Instead, Defendants only paid Plaintiff and the putative class based on the time they were

   14 clocked in for their shifts and did not pay Plaintiff and the putative class for any of:the time spent

   15 working off-the-clock.

   16           26.     Defendants knew or should have known that Plaintiff and the putative class were

   17 performing work during meal breaks and/or before clocking-in and failed to pay Plaintiff and the

   18 putative class for these hours.

   19           27.     Defendants were aware of this practice and directed, pennitted or otherwise

   20   encouraged Plaintiff and the putative class to perform off-the-clock work.

   21           28.     As a result of Defendants' policies and practices, Plaintiff and the putative class were

   22 not paid for all hours worked.

   23                                           Missed Meal Periods

   24           29.     Plaintiff and the putative class members were not provided with meal periods of at

   25 least thirty (30) minutes for each five (5) hour work period due to (1) Defendants' policy of not

   26 scheduling each meal period as part of each work shift; (2) chronically understaffing each work

   27   shift with not enough workers; (3) imposing so much work on each employee such that it made it

   28   unlikely that an employee would be able to take their breaks if they wanted to finish their work on

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   1 time; and (4) no formal written meal and rest period policy that encouraged employees to take their

   2 meal and rest periods.

   3          30.     As a result of Defendants' policy, Plaintiff and the putative class were regularly not

   4   provided with uninterrupted meal periods of at least thirty (30) minutes for each five (5) hours

   5 worked because they were required to clock-in form their meal periods when a customer came in

   6 and there was not enough staff to assist the customer.

   7                                          Missed Rest Periods

   8          31.     Plaintiff and the putative class members were not provided with rest periods of at

   9 least ten (10) minutes for each four (4) hour work period, or major fraction thereof, due to (1)

  10 Defendants' policy of not scheduling each rest period as part of each work shift; (2) chronically

  11   understa:ffing each work shift with not enough workers; (3) imposing so much work on each

  12 employee such that it made it unlikely that an employee would be able to take their breaks if they

  13   wanted to finish their work on time; and (4) no formal written meal and rest period policy that

  14 enc~uraged employees to ta,ke their meal and rest periods.

  15          32.     As a result of Defendants' policy, Plaintiff and the putative class were regularly no~

  16 provided with uninterrupted rest periods of at least ten (10) minutes for each four (4) hours worked

  17 due to complying with Defendants' productivity requirements that required Plaintiff and the

  18 putative class to work through their rest periods in order to complete their assignments on time.

  19                                         Expense Reimbursement

  20          33.     Plaintiff and the putative class members were required to utilize their own personal.

  21   cell phones and vehicles to help perform their job duties.

  22          34.     Plaintiff and the putative class members were not reimbursed for business expenses

  23   incurred in using their own cellphone or vehicle..

  24          35.     Additionally, Plaintiff and the putative class were also required to purchase and

  25 maintain their uniforms, including having their uniforms dry cleaned.

  26          36.      Plaintiff and the putative class members were not paid at least two times the

  27 minimum wage for all hours worked.

  28          37.     Defendants failed to reimburse Plaintiff and the putative class for such necessary

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    1 business expenses incurred by them.
    2                                            Wage Statements

   3           38.    Plaintiff and the putative class were not provided with accurate wage statements as
   4    mandated by law pursuant to Labor Code section 226.

    5          39.    Defendants failed to comply with Labor Code section 226(a)(l) as "gross wages
   6 earned" were not accurately reflected in that: (1) all hours worlced, including overtime, were not

    7 included

    8          40.    Defendants failed to comply with Labor Code section 226(a)(2) as "total hours

    9 worked by the employee" were not accurately reflected in that: (I) all hours worked, including

   IO overtime, were not included and (2) their meal and rest break premiums were not properly

   11 provided.
   12          41.     Defendants failed to comply with Labor Code section 226(a)(5) as "net wages
   13 earned" were not accurately reflected in that: (1) all hours worlced, including overtime, were not
   14· included; (2) their ~al and rest break premiums were not properly provided.

   15          42.    Defendants failed to comply with Labor Code section 226(a)(9) as "all applicable
   16 hourly rates in effect during the pay period and the corresponding number of hours worked at each
   17 hourly rate by the employee" were not accurately reflected in that: all hours worked, including

   18 overtime, were not included.

   19                                                Late Pay

   20          43.     At all relevant times, pursuant to Labor Code section 201, employees who have been

   21 discharged have been entitled to payment of all final wages immediately upon termination.

   22          44.     At all relevant times, pursuant to Labor Code section 202, employees who have

   23 resigned after giving at least seventy~two {72) hours notice of resignation have been entitled to
   24 payment of all final wages at the time of resignation.

   25 During the relevant time period, Defendants' had a policy and practice of failing to provide Plaintiff
   26 and other putative class members with their final paycheck at the time of tennination and/or 72
   27 hours after resignation. Although, Plaintiff was tenninated on or about November 24, 2018,_he did
   28 not receive bis final paycheck until approximately a week later via direct deposit.

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                                          FIRST CAUSE OF ACTION

    2                             FAILURE TO PROVIDE MEAL PERIODS

    3                             (Lab. Code §§ 004, 223, 226. 7, 512 and 1198)

    4                              . (Plaintiff and Meal Period Sub-Class)

    5          45.     Plaintiff incorporates by reference the preceding paragraphs of the Complaint as if

    6 fully alleged herein.

    7          46.     At all relevant times, Plaintiff and the Meal Period Sub-Class members have been

    8 non-exempt employees of Defendant entitled to the full meal period protections of both the Labor

    9 Code and the applicable Industrial Welfare Commission Wage Order.

   10          47.     Labor Code section 512 and Section 11 of the applicable' Industrial Welfare

   11 Commission Wage Order impose an affirmative obligation on employers to provide non-exempt

   12 employees with uninterrupted, duty-free meal periods of at least thirty minutes for each work period

   13 of five hours, and to provide them with two uninterrupted, duty-free meal periods of at least thirty

   14 minut~ for each work period 9f ten hours.

   15          48.     Labor Code section 226. 7 and Section 11 of the applicable Industrial Welfare

   16 Commission Wage Order ("Wage Order'') both prohibit employers from requiring employees to

   17 work during required meal periods and require employers to pay non-exempt employees an hour of

   18 premium wages on each workday that the employee is not provided with the required meal period,

   19          49.     Compensation for missed meal periods constitutes wages within the meaning of

  20 Labor Code section 200.

  21           50.     Labor Code section 1198 makes it unlawful to employ a person under conditions that

  22 violate the applicable Wage Order.

  23           51.     Section 11 of the applicable Wage Order states:

  24                   "No employer shall employ any person for a work period of more than five (5) hours
                       without a meal period of not less than 3 0 minutes, except that when a work period of
  25                   not more than six (6) hours will complete the day's work the meal period may be
                       waived by mutual consent of the employer and employee. Unless the employee is
  26                   relieved of all duty during a 30 minute meal period, the meal period shall be
                       considered an 'on duty' meal period and counted as time wm:ked. An 'on duty' meal
  27                   period shall be permitted only when the nature of the work prevents an employee
                       from being relieved of all duty and when by written agreement between the parties
   28                  an on~the-job paid meal period is agreed to. The written agreement shall state that

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    1                  the employee may, in writing, revoke the agreement at any time."
    2          52.     At all relevant times, Plaintiff was not subject to a valid on-duty meal period
    3 agreement. Plaintiff is informed and believes that, at all relevant times, Meal Period Sub-Class
    4 members were not subject to valid on-duty meal period agreements with Defendants.

    s          53.     Plaintiff alleges that, at all relevant times during the applicable limitations period,
    6 Defendants maintained a policy or practice of not providing Plaintiff and members of the Meal

    7 Period Sub-Class with uninterrupted, duty-free meal periods for at least thirty (30) minutes for

    8 each five (5) hour work period, as required by Labor Code section.512 ad the applicable Wage

    9 Order.

               54.     Plaintiff alleges that, at all relevant times during the applicable limitations period,
   11 Defendants maintained a policy or practice of not providing Plaintiff and members of the Meal
   12 Period Sub-Class with a second meal period when they worked shifts of ten or more hours and
   13 failed to pay them premium wages as required by Labor Code 512 and the applicable Wage Order.

   14          55. •   Moreover, Defendants written policies do not provide that emplo;rees must take their
                                           .                        .
   15 first meal period before the end of the fifth hour of work, that they are entitled to a second meal
   16 period if they work a shift of over ten hours, or that the second meal period must commence before
   17 the end of the tenth hour of work, unless waived.

   18          56.     At all relevant times, Defendants failed to pay Plaintiff and the Meal Period Sub-

   19 Class members additional premium wages, and/or were not paid premium wages at the employees'
   20 regular rates of pay when required meal periods were not provided.

   21          57.     Pursuant to Labor Code section 204, 218.6 and 226. 7, Plaintiff, on behalf of himself
   22 and the Meal Period Sub-Class members who were not provided with a compliant meal period and
   23 not paid premium wages, and; therefore, seek to recover unpaid premium wages, interest thereon,
   24 and costs of suit.
   25          58.     Pursuant to Labor Code section 1194, Code of Civil Procedure section 1021.5, the
   26 substantial benefit doctrine, and/or the common fund doctrine, Plaintiff, on behalf ofhimself and
   27 the Meal Period Sub-Class members, seek to recover reasonable attorneys' fees.
   28 ///

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   1                                     SECOND CAUSE OF ACTION

   2                              FAil,URE TO PROVIDE REST PERIODS

   3                                 (Lab. Code§§ 204,223, 226.7 and 1198)

   4                                  (Plaintiff and Rest Period Sub-Class)

   5           59.    Plaintiff incorporates the preceding paragraphs of the Complaint as if fully alleged
   6 herein.

   7           60.    At all relevant times, Plaintiff and the Rest Period Sub-Class members have been
   8 non-exempt employees of Defendants entitled to the full rest period protections of both the Labor
   9 Code and the applicable Wage Order.

               61.    Section 12 of the applicable Wage Order imposes an affirmative obligation on
  11 employers to pennit and authorize employees to take required rest periods at a rate of no less than
  12 ten minutes of net rest time for each four hour work period, or major fraction thereof, that must be
  13 in the middle of each work period insofar as practicable.
  14           62.    Labor Code section 226. 7 and Section 12 of the applicable Wage Ord~ both prohibit
  15 employers from requiring employees to work during required ·rest periods and require employers to
  16 pay non-exempt_ employees an hour of premium wages at the employees' regular rates of pay, on

  17 each workday that the employee is not provided with the required rest period(s).

  18           63.    Compensation for missed rest periods constitutes wages within the meaning of Labor
  19 Code section 200.
  20.          64.    Labor Code section 1198 makes it unlawful to employ a person under conditions that

  21 violate the Wage_ Order.
  22           65.    Plaintiff alleges that, at all relevant times during the applicable limitations period,
  23 Defendants maintained a policy or practice of not providing members of the Rest Period Sub-Class
  24 with net rest period of at least ten minutes for each four hour work period, or major fraction thereof,
  25 as required by the applicable Wage Order.
  26           66.    At all relevant times, Defendants failed to pay Plaintiff and the Rest Period Sub-
  27 Class members additional premium wages when required rest periods were not provided.
  28           67.    Specifically, Defendants written. policies do not provide that employees may take a

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    1 rest period for each four hours worked, or major :fraction thereof, and that rest periods should be
    2   taken in the middle of each work period insofar as practicable.

    3            68.   Pursuant to Labor Code section 204,218.6 and 226.7, Plaintiff, on behalf of himself
    4 and Rest Period Sub-Class members who were not provided with a complaint rest period and were

    5 not paid premium wages, and; therefore, seek to recover unpaid premium wages, interest thereon,
    6 and costs of suit.

    7            69.    Pursuant to Labor Code section 1194, Code of Civil Procedure section 1021.5, the

    8   substantial benefit doctrine, and/or the common fund doctrine, Plaintiff, on behalf of himself and .
    9 Rest Period Sub-Class members, seek to recover reasonable attorneys' fees.

   10                                      THIRD CAUSE OF ACTION

   11                      FAil.,lJRE TO PAY HOURLY AND OVERTIME WAGES

   12                              (Lab. Code §§ 223, 510, 1194, 1197 and 1198)

   13                                  (Plaintiff and Hourly Employee Class)

   14            70.   : Plaintiff incorporates the preceding paragrap~ of the Complaint as if fully alleged

   15 herein.

   16            71.   At all relevant times, Plaintiff and Hourly Employee Class members are or have

   17 been non-exempt employees of Defendants entitled to the full protections ofthe'Labor Code and the

   18 applicable Wage Order.

   19            72.    Section 2 of the applicable Wage Order defines ''hours worked" as ''the time during

   20 which an employee is subject to the control of the employer, and includes all the time the employee

   21   is suffered or permitted to work, whether or not required to do so:'

   22            73.    Section 4 of the applicable Wage Order requires an employedo pay non-exempt
   23   employees at least the minimum wage set forth therein for all hours worked, which consist of all
   24 homs that an employer has actual or constructive knowledge that employees are workmg.

   25            74.    Labor Code section 1194 invalidates any agreement between an employer and an
   26 employee to work for less than the minimum or overtime wage required under the applicable Wage

   27   Order.
   28            75.    Labor Code section 1194.2 entitles non-exempt employees to recover liquidated

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   ,.,J   damages in amounts equal to. the amounts of unpaid minimum wages and interest thereon in
    2 addition to the underlying unpaid minimum wages and interest thereon.

    3            76.    Labor Code section 1197 :makes it unlawful for an employer to pay an employee less
    4 than the minimum wage required under the applicable Wage Order for all hours worked during a
    5 payroll period.

    6            77.    Labor Code section 1197. I provides that it is unlawful for any employer or any other
    7 person acting either individually or as an officer, agent or employee of another person, to pay an
    8 employee~ or cause an employee to be paid, less 1:han the applicable minimum wage.
   9             78.    Labor Code section 1198 makes it unlawful for employers to employ employees
  IO under conditions that ~iolate the applicable Wage Order.

  11             79.    Labor Code section 204 requires employers to pay non-exempt employees their
  12 earned wages fur the normal work period at least twice during each calendar month on days the
  13 employer designates in adyance and to pay non-exempt employees their earned wages for labor
  14 perfo~ed in excess of the nonnal work period by nn later than the next regular payday.
                                       ..

  15             80.    Labor Code section 223 makes it unlawful for employers to pay their employees
  16 lower· wages than required by contract or statute.whilepmporting to pay them legal wages.
  17             81.    Labor Code section 510 and Section 3 of the applicable Wage Order require
  18 employees to pay non-exempt employees overtime wages ofno less than one and one-halftimes
  19 their respective regular rates of pay for all hours worked in excess of eight hours in one workday, all
  20 hours worked in excess of forty hours in one work.week, and/or for the first eight hours worked on
  21      the seventh consecutive day of one workweek.

  22             82.    Labor·Code section 510 and Section 3 of the applicable Wage Order also require
  23 employers to pay non-exempt employees overtime wages of no less than two times their respective

  24 · regular rates of pay for all hours worked in excess of twelve hours in one workday and for all hours
  25 worked in excess of eight hours on a seventh consecutive workday during the workweek.
  26             83.    Plaintiff is informed and believes that, at all relevant times, Defendants have applied

  27 centrally devised policies and practices to him and Hourly Employee Class members with respect

  28 to working conditions and compensation arrangements.

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    1           84.    At all relevant times, Defendants failed to pay hourly wages to Plaintiff and Hourly
    2 Employee Class members for all time worked, including but not limited to, overtime hours at

    3 statutory and/or agreed rates.

    4           85.

    5           86.       Section 9 of the applicable Wage Order states:
    6        87.    "When uniforms are required by the employer to be worn by the employee as a
      condition of employment, such uniforms shall be provided and maintained by the employer. The
    7 term 'unifonn' includes wearing apparel and accessories of distinctive design or color."
             88.                                                                               .
    8        89.
             90.      If the employer does not choose to maintain employees' uniforms itself where it is
    9
         required to do so, the Division of Labor Standards Enforcement ("DLSE") takes the position that
   IO
         the employer may pay each affected employee a wee~y maintenance allowance of an hour's pay at
   11
         the state minimum wage rate in lieu of maintaining the uniforms, assuming that an hour is a realistic
   12
         estimate of the time involved in maintaining the uniform.
   13
                91.      At all relevant times during the applicable limitations period, and in violation of the
   14
         ;above-referenced secti~ns of the Labor Code imd the applicable Wage Order, Defendants failed to
   15
         compensate Plaintiff with minimum and/or overtime wages for all hours she worked as a result of
   16
         its failure to maintain employee uniforms and/or pay her a weekly maintenance allowance.
  . 17
                92.      Plaintiff is infoIIlled and believes that, at all relevant times, and in violation of the
   18
         above-referenced sections of the Labor Code and the applicable Wage Order~ Defendants faiied to
   19
         compensate Honrly Employee Class members with minimum and/or overtime wages for all hours
   20
         they worked as a result of its failures to maintain employee uniforms and/or pay th.em a weekly
   21
         maintenance allowance.
   22
                93.      During the relevant time period, Defendants failed to pay Plaintiff and Hourly
   23
         Employee Class members all earned wages every pay period at the correct rates, including
   24
         overtime rates, because Defendants directed, permitted or otherwise encouraged Plaintiff and
   25
         Hourly Employee Class members to perform off-the-clock work.
   26
                 94.    As a result of Defendants' unlawful conduct, Plaintiff and Hourly Employee Class
   27
         members have suffered damages in an amount, subject to proof, to the extent they were not paid the
   28

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   1 full amount of wages earned during each pay period during the applie&ble limitations period,

   2   including overtime wages.

   3           95.     Pursuant to Labor Code sections 204, 218.6, 223, 510, 1194 and 1194.2, Plaintiff, on

   4 behalf of himself and Hourly Employee Class members, seek to recover unpaid straight time and

   5 overtime wages, interest thereon and costs of suit.

   6           96.

   7           97.     Plaintiff, on behalf of himself and Hourly Employee Class members, who were not

   8 paid all hourly wages, seek to recover unpaid wages, interest thereon, and costs of suit.

   9           98.     Pursuant to Labor Code section 1194, Code of Civil Procedure section 1021.5, the
                             .                        .

  10 substantial benefit doctrine, and/or the common fund doctrine, Plaintiff, on behalf of himself and

  11   Hourly Employee Ciass members, seek to recover reasonable attorneys' fees.

  12                                     FOURTH CAUSE OF ACTION

  13                                       FAILURE TO INDEMNIFY
  14                                          (Lab. Code:§§ 2802, 223)_
                                                        -
  15                              (Plaintiff and Expense Reimbursement Class)

  16           99.     Plaintiff incorporates the preceding paragraphs of the Complaint as if fully alleged

  17 herein.

  18           100.    Labor Code section 2802(a) states:

  19                   ''An employer shall indemnify his or her employee for all necessary expenditures or
                       losses incurred by the employee in direct consequence of the discharge ofhis or her
  20                   duties, or of his or her obedience to the directions of the employer, even though
                       unlawful, unless the employee, at the time of obeying the directions, believed them
  21                   to be unlawful."

  22           101.    At all relevant times during the applicable limitations period, Plaintiff and the

  23 Expense Reimbursement Class members incurred necessary business- related expenses and costs,

  24 including but not limited to, use of their personal cell phones, personal vehicles, and maintenance of

  25 their uniforms.

  26           102.    Plaintiff is informed and believes, and thereupon alleges that the reimbursement paid

  27 by Defendants was insufficient to indemnify Plaintiff ~d Expense Reimbursement Class

  28 members who were not fully reimbursed for all necessary business expenses incwred in the

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    1 discharge of their duties.
   2           103.     Plaintiff is informed and believes and thereupon alleges that the reimbursement paid
    3 by Defendants was insufficient to indemnify Expense Reimbursement Class members who were
   4 not reimbursed for all necessary business expenses incurred in the discharge of their duties.

    5          104.      Pursuant to Labor Code section 452, an employer is authorized to prescribe the
    6 weight, color, quality, texture, style, form and make of uniforms required to be worn by their
    7 employees.

    8          105.     Section 9 of the applicable Wage Order states:
    9         106. "When uniforms are required by the employer to be worn by the employee as a
      condition of employment, such uniforms shall be provided and maintained by the employer. The
   10 tenn 'uniform' includes wearing apparel and accessories of distinctive design or color."
               107.
   11
               108. • At all relevant times during the applicable limitations period, Defendants required
   12
        Plaintiff and the Expense Reimbursement Class members to pay for expenses and/or losses caused
   13
        by Defendants' want of ordinary care. Defendants failed to indemnify Plaintiff and Expense
                                              .                       .                       .
   14
        Reimbursement Class members for: all such expenditures. :
   15
               109.     At all relevant times during the applicable limitations period, Defendants required
   16
        Plaintiff and Expense Reimbursement Class members to purchase and maintain uniforms and
   17
        apparel unique to Defendants at their expense. Defendants failed hJ indemnify Plaintiff and
   18
        Expense Reimbursement Class members for all such expenditures.
   19
               110.     Plaintiff is infonned and believes that, during the applicable limitations period,
   20
        Defendants maintained a policy or practice of not reimbursing Plaintiff and Expense
   21
        Reimbursement Class members who were not fully reimbnrsed for all necessary business
   22
        expenses.
   23
               111.     Accordingly, Plaintiff and Expense Reimbursement Class members who were not
   24
        fully reimbursed for all business expenses are entitled to restitution fur all unpaid amounts due and
   25
        owing to within four years of the date of the filing of the Complaint and until the date of entry of
   26
        judgment.
   27
                I 12.   Plaintiff, on behalf of himself'; and Expense Reimbursement Class members who
   28


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   1 were not fully reimbursed for all business expenses, seek interest thereon and costs pursuant to
   2 Labor Code section 218.6, and reasonable attorneys' fees pursuant to Code of Civil Procedure

   3 section 1021.5.
   4                                     FIFI'B CAUSE OF ACTION

   5            FAll,lJRE TO PROVIDE ACCURATE WRITTEN WAGE STATEMENTS

   6                                            (Lab. Code § 226)

   7                          (Plaintiff and Wage Statement Penalties Sub-Class)

   8           113.   Plaintiff incorporates the preceding paragraphs of the Complaint as if fully alleged

   9 herein.

  10           114.   Labor Code section 226(a) states:

  11                  "An employer, semimonthly or at the time of each payment of wages, shall furnish to
                      his or her employee, either as a detachable part of the check, draft, or voucher paying
  12                  the employee's wage;:s, or separately if wages are paid by personal check or cash, an
                      accurate itemized statement in writing showing (I) gross wages earned, (2) total
  13                  hours worked by the employee, except as provided in subdivision (j), (3) the number
                      of piece-rate units earned and any applicable piece rate if the employee is paid on a
  14                  piece-rate basis, (4) all deductions, provided that all deductions made on written
                      orders of the employee may be aggregated and shown as one item, (5) net wages
  15                  earned, (6) the inclusive dates of the period for which the employee is paid, (7) the
                      name of the employee and only the last four digits of his or her social security
  16                  number or an employee identification number other than a social security number,
                      (8) the name and address of the legal entity that is the employer and, if the employer
  17                  is a farm labor contractor, as defined in subdivision (b) of Section 1682, the name
                      and address of the legal entity that secw:ed the services of the employer, and (9) all
  18                  applicable hourly rates :in effect during the pay period and the corresponding number
                      ofhours worked at each hourly rate by the employee and, beginning July 1, 2013, if
  19                  the employer is a temporary services employer as defined in Section 201.3, the rate
                      of pay and the total hours worked for each temporary services assignment. The
  20                  deductions made from payment of wages shall be recorded in ink or other indelible
                      form, properly dated, showing the month, day, and year, and a copy of the statement
  21                  and the record of the deductions shall be kept on file by the employer for at least
                      three years at the place of employment or at a central location within the State of
  22                  California. For purposes of this subdivision, 'copy' includes a duplicate of the
                      itemized statement provided to an employee or a computer-generated record that
  23                  accurately shows all of the information required by this subdivision."

  24           115.   The Division of Labor Standards Enforcement ("DLSE'') has sought to hmmonize

  25· the "detachable part of the check" provision and the "accurate itemized statement in writing''
                                 I
  26 provision o~Labor Code section 226(a) by allowing for electronic wage statements so long as each
  27 employee retains the right to elect to receive a written paper stub or record and that those who are
  28 provided with electronic wage statements retain the ability to easily access the information and


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   1 convert the electronic statements into hard copies at no expense to the employee. (DLSE Opinion
   2 Letter July 6, 2006).

   3          116.   Plaintiff is informed and believes that, at all relevant times during the applicable

   4 limitations period, Defendants have failed to provide Wage Statement Penalties Sub-Class
   5 members with written wage statements as described above.

   6          117.   Plaintiff is informed and believes that Defendants' failure to provide him and Wage
   7 Statement Penalties Sub-Class members with accurate written wage statements were intentional in
   8 that Defendants have the ability to provide them with accurate wage statements but have

   9 intentionally provided them with written wage statements that Defendants have known do not

  10 comply with Labor Code section 226(a).

  11          118.   Plaintiff and Wage Statement Penalties Sub-Class members have suffered injuries,

  12 in that Defendants have violated their legal rights to receive accurate wage statements and have
  13 misled them about their actual rates of pay and wages earned. In addition, inaccurate information
  14 on their wage statements have prevented immediate challenges to Defendants' l.1Dlawful pay
  15 practices, has required discovezy and mathematical computations to determine the amount of wages
  16 owed, has caused difficulty and expense in attempting to reconstruct time and pay records~ and/or
  17 has led to the submission of inaccurate information about wages and deductions to federal and state
  18 government agencies.
  19 Pursuant to Labor Code ·section 226(e), Plaintiff, on behalf ofhimself and Wage Statement

  20 Penalties Sub-Class members who were not provided a compliant a~urate written wage statement,
  21 seek the greater of actual damages or $50.00 for the initial pay period in which a violation of Labor
  22 Code section 226(a) occurred, and $ 100.00 for each subsequent pay period in which a violation of
  23 Labor Code section 226(a) occurred, not to exceed an aggregate penalty of$4000.00 per class
  24 member, as well as awards of reasonable attorneys' fees and costs.

  25                                     SIXTH CAUSE OF ACTION

  26                         FAILURE TO TIMELY PAY ALL FINAL WAGES

  27                                         (Lab. Code§§ 201~203)

  28                          · (Plaintiff and Waiting Time Penalties Sub-Class)

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   1             119.    Plaintiff incorporates the preceding paragraphs of the Complaint as if fully alleged

   2   herein.

   3             120.    At all relevant times, Plaintiff and certain Waiting Time Penalties Sub-Class

   4 members have been entitled, upon the end of their employment with Defendants, to timely payment

   5 of a11 wages earned and unpaid before termination or resignation.

   6             121.    At all relevant times, pursuant to Labor Code section 201, employees who have been

   7 discharged have been entitled to payment of all final wages immediately upon termination.

   8             122.    At all relevant times, pursuant to Labor Code section 202, employees who have

   9 resigned after giving at least seventy-two (72) hours notice of resignation have been entitled to

  10 payment of all final wages at the time of resignation.

  11             123.    At all relevant times, pursuant to Labor Code section 202, employees who have

  12 resigned after giving less than seventy-two (72) hours notice of resignation have been entitled to

  13 payment of all final wages within seventy-two (72) hours of giving notice ofresignation.

  14             :124.   During the applicable limitations period, Defendants failed   to: pay Plaintiff all of his :
  15 final wages in accordance with the Labor Code by failing to timely pay him all of his final wages.

  16             125.    Plaintiff is informed and believes that, at all relevant time during the applicable

  17 limitations period, Defendants have failed to timely pay certain Waiting Time Penalties Sub-Class

  18 members all of their final wages in accordance with the Labor Code.

  19             126.    Plaintiff is informed and believes that, at all relevant times during the applicable

  20 limitations period, Defendants have maintained a policy or practice of paying certain Waiting Time

  21   Penalties Sub-Class members their final wages without regard to the requirements of Labor Code

  22   sections 201 or 202 by failing to timely pay them all final wages.

  23             127.    Plaintiff is informed at?-d believes and thereupon alleges that Defendants' failure to

  24 timely pay all final. wages to him and certain Waiting Time Penalties Sub-Class members have

  25 been willful in that Defendants have the ability to pay final wages in accordance with Labor Code

  26 sections 201 and/or 202 but have intentionally adopted policies or practices that are incompatible

  27 with those requirements.

  28             128.    Pursuant to Labor Code sections 203 and 218.6, Plaintiff, on behalf of himself and

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    1 certain Waiting Time Penalties Sub-Class members, seek waiting time penalties from the dates

    2 that their final wages have first become due until paid, up to a maximum of thirty days, and interest

    3 thereon.

    4           129.     Pursuant to Code of Civil Procedure section 1021.5, the substantial benefit doctrine

    5 and/or the common fund doctrine, Plaintiff, on behalf of himself and certain Waiting Time

    6 Penalties Sub-Class members, seek awards ofreasonable attorneys' fees and costs.

    7                                     SEVENTH CAUSE OF ACTION

    8                                         UNFAIR COMPETITION

    9                                    (Bus. & Prof. Code§§ 17200 et seq.)

   10                                          (Plaintiff and UCL Class)

   11           130.     Plaintiff incorporates the preceding paragraphs of the Complaint as if fully alleged

   12 herein.

   13           131.     Business and Professions Code section 17200 defines "unfair competition" to

   14 include any unlawful business practice.

   15           132.     Business and Professions Code section 17203-17204 allow a person who has lost

   16 money or property as a result of unfair competition to bring a class action in accordance with Code

   17 of Civil Procedure section 382 to recover money or property that may have been acquired from

   18   similarly situated persons by means of unfair competition.

   19           133.     California law requires employers to pay hourly, non-exempt employees for all hours

   20 they are permitted or suffered to work, including hours that the employer knows or reasonable

   21   should know that employees have worked.

   22            134.    Plaintiff and the UCL Class members re-alleges and incorporates the FIRST,

   23   S~OND, THIRD, FOURTH, FIFTH and SIXTH causes of action herein.
         "
   24           ·13 5.   Plaintiff lost money or property as a result of the aforementioned unfair competition.

   25            136.    Defendants have or may have acquired money by means of unfair competition.

   26            13 7.   Plaintiff is informed and believes and thereupon alleges that by committing the

   27 Labor Code violations described in this Complaint, Defendants violated Labor Code sections 215,

   28 216,225,226.6, 354,408, 553, 1175, 1199 and 2802, which make it a misdemeanor to commit the

                                                           21
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    1 Labor Code violations alleged herein.

   2           138.   Defendants have committed criminal conduct through their policies and practices o:f,

   3 tnter alia, failing to comport with their affirmative obligations as an employer to provide non-

   4   exempt employees with uninterrupted, duty-free meal periods of at least thirty minutes for each

    5 work period of five or more hours, failing to provide non-exempt employees with uninterrupted,

   6 duty-free rest period13 of at least ten minutes for each work period of four hours, by failing to pay

   7 non-exempt employees for all hours worked, by failing to reimburse them for all expenses, and all
   8 other allegations contained herein.

   9           139.   At all relevant times, Plaintiff and UCL Class members have been.non-exempt
  10 employees and entitled to the full protections of both the Labor Code and the applicable Wage

   11 Order.
  12           140.   Defendants' unlawful conduct as alleged in this Complaint amounts to and

  13   constitutes unfair competition within the meaning of Business and Professions Code section 17200

  14 et seq. Business and Professions Cod~ sections 17200 et seq:, protects against unfair competition

  15 and allows a person who has suffered an injury-in-fact and has lost money or property as a result of

  16 an unfair, unlawful or fraudulent business practice to seek restitution on his own behalf and on

  17 behalf of similarly situated persons in a class action proceeding.

  18           141.   As a result of Defendants' violations of the Labor Code during the applicable

  19 limitations period, Plaintiff h.as suffered an injury-in-fact and has lost money or property in the form

  20 of earned wages. Specifically, Plaintiff has lost money or property as a result of Defendants'

  21   conduct

  22           142.   Plaintiff is informed and believes that other similarly situated persons have been

  23   subject to the same unlawful policies or practices of Defendants.
  24           143.   Due to the unfair and unlawful business practices in violation of the Labor Code,

  25   Defendants have gained a competitive advantage over other comparable companies doing business

  26 in the State of California that comply with their legal obligations.

  27           144.   California's Unfair Competition Law ("UCL") permits civil recovery and injunctive
  28 for "any unlawful, unfair or fraudulent business act or practice," including if a practice or a~

                                                        22
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    1 violates or is considered unlawful under any other state or federal law.
    2          145.   Accordingly, pursuant to Bus. & Prof. Code sections 17200 and 17203, Plaintiffs
    3 request the issuance of temporaiy, preliminary and peonanent injunctive relief enjoining
    4 Defendants, and each of them, and their agents and employees, from further violations of the Labor
    5   Code and applicable Industrial Welfare Commission Wage Orders; and upon a final hearing seek
    6 an order permanently enjoining Defendants, and each of them, and their respective agents and

    7 employees, from further violations of the Labor Code and applicable Industrial Welfare

    8 Commission Wage Orders.
    9          146.   Pursuant to Business and Professions Code section 17203, Plaintiff, on behalf of
   10 himself and UCL Class members, seek declaratory relief and restitution of all monies rightfully
   11 belonging to them that Defendants did not pay them or otherwise retained by means of its unlawful
   12 and unfair business practices.

   13          147.   Pursuant to Code of Civil Procedure section I 021.5, the substantial benefit doctrine
   14 and/or the comm.on fund doctrine, Plaintiff and UCL Class: members are entitled t() recover
   15 reasonable attorneys' fees in connection with their unfair competition claims.

   16                                        PRAYER FOR RELIEF
   17          WHEREFORE, Plaintiff, on behalf of himself, all others similarly situated, and the general
   18 public) prays for relief and judgment against Defendants as follows:

   19                 (1)     An order that the action be certified as a class action;

   20                 (2)     An order that Plaintiff be appointed class representative;

   21                 (3)     An order that counsel for Plaintiff be appointed class counsel;

   22                 (4)     Unpaid wages;

   23                 (5)     Actual damages;
   24                 (6)     Liquidated damages;
   25                 (7)     Restitution;
   26                 (8)     Declaratory relief;
   27                  (9)    Pre-judgment interest;
   28                  (10)   Statutory penalties;

                                                         23
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   1                  (11)   Costs of suit;

   2                  (12)   Reasonable attorneys' fees; and

   3                  (13)   Such other relief as the Court deems just and proper.

   4                                     DEMANDFORJURYTRIAL
   5          Plaintiff, on behalf of himself, all other similarly situated, hereby demands a jury trial on all

   6 issues so triable.

   7

   8 Dated: November 20, 2019                        SETAREH LAW GROUP

   9

  10

  11
                                                  f0-±~1w
                                                     SHAUN SETAREH
  12                                                 THOMAS SEGEL
                                                     FARRAH GRANT
  13                                                 Attorneys for Plaintiff
                                                     CAUDLEY SIMON
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                                              CLASS ACTION COMPLAINT
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 39 of 92 Page ID #:39




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  ATTORN!iYSR PARTYWITHO\.lT ATTORNEY (Namf>. StDIO Barnumb<>r, ondfJddress):                                                    FOR COURT USE ONLY
 ,-Shaun ctareh (SBN 204514)                                                                                               GON:fO\c.~\\'.lfO COPY
      SETAREH LAW GROUP                                                                                                   ORIGINAi... flLED
      315 South Beverlfi Drive, Suite 315                                                                              <:upmior Crwr! of California
      Beverly Hills, Ca ifomia 90212                                                                                        -------~- . . - ' ' ·~- "••-•nn(~f,:.
                        ?IO) 888-7771
           TELEPHOI-ENO.:                        FAX NO.: (310) 888-01.09
  ATTORNEiY FOR /Name/:  laintiff, Caudley Simon                                                                                 DEC O2 2019
 SUP!;:RIOR couRT oF CAUFORNIA, couNTY OF Los Angeles
       STREETADDRESS: 111 N. Hill St.
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                                                                                                               Shmi 11 _    >'J'c,, ,.,,~~~nu~rk or Cour
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      CASE NAME:
      Simon v, Wells Fargo Bank. National Association

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         CIVIL CASE COVER SHEET
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                                                                     Complex ~ase Designation                  OSENU!~ ST CV 4 2 77,
          (Amount          (Amount                               D     Counter           D     Jolnder
                                                                                                                JUDGE:
          demanded         demanded Is                           Filed with first appearance by defendant
          exceeds $25,000) $25,000 or less)                          (Cal. Rules of Court, rule 3.402)           DEPT:
                                                Items 1-6 below must be completed (see mstrur;fmns an          e 2).
 1. Check one box below for the case type that best describes this case:
       Auto Tort                                               Contract                                  Provlslonally Compk»c Civll Litigation
       D       Auto (22)                                       D     Breach of contract/wammly (06)      (Cal. Rules of Court, rul~ 3A00--3.403)
       D       Uninsured motorist (46)                         D     Rule 3.740 collectlons (D9)         D     AntltrusVTrade regulation (03)
       Other PI/PD/WD (Personal ln)ury/Property                D     Other collections (09)              D     Consiruction defect (10)
       Damage/Wrongful Death) Ton                              D     Insurance coverage (18)             D     Mass tort (40)
       D     Asbestos (04}                                     D     Other c_or:rtract (3n               D     Seculilles lltlgatlon (28)
       D     Product liabmty (24)                              Rael Property                             D     EnvironmenlalffOlllc tort (3D)
       D     Medical malpractice (45)                          D     Eminent domaln/lnverne              D     lnwrance coverage claims arising from the
       D     Other PI/PD/WD (23)                                     condemna!lon (14)                         above listed provisionally complex cese
        Non-PI/PDIWD (Other) Tort                              D     WrongflJI eviction (33)
                                                                                                               types (41)

       D       Business tori/unfair business practice (07)     Dother real property (26)                 Enfon::ement or Judgment
       D       Civil rig_hts (08)                          Unlawful Dotalner                             D     Enforcement ofJudgment (20)
       D       Defamation (13)                                 D     Commercial (31)                     Miscellaneous Civil Complaint
       D       Fraud (16)                                      D     Resldenllal (32)                    0     RIC0(27)
       D   Intellectual property (19)                          D Drugs (38)                         D Other complalnt (not specified above) (42)
       D   Professional negligence (25)                        Judicial ReVil'.!w                   Miscellaneous Civil Petition
      ·D   Other non-PI/PO/WD tort (35)                        D Asset folfeiture (05)              D Parinershlp and corporate governance (21)
       ~loymont                                                D Petition re: arbftraUon award (11) D Other petition (not specified obove) (43)
       LJ Wrongful tennlnallon (36)                            D Writ of mandate (02)
       0   Olller employment (15)                                    other udicial review 39
 2. This case              v Is                 Is not
                                                complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
        factors requiring exceptional judicial management
        a. [2] Large number of separately represented parties          d.            0
                                                                               Large number of witnesses
        b. 0     Extensive motion practice ·raising difficult or novel e. 0 Coordination with related actions pending in one or more courts
                 issues that will be lime-consuming to resolve                 in other counties, states, or countries, or iri a federal court
        c. 0     Substantial amount of documentary evidence            f. 0 Substantial postjudgrnentjudicial supervision
 3.     Remedies sought (check all that apply): a.@ monetaiy b.                  0
                                                                              nonmonetary; declaratory or Injunctive relief                         c.   0     punitive
 4.     Number of causes of action (specify): Seven
 5.     This case        0is              D
                                     is not a class action suit.
 6.     If there are any known related cases, file and serve a notice of related cas
 Date: November 20, 2019
 Shaun Setareh, Esq.
                                      [TYPEOR PRINT NAME}
                                                                           NOTICE
      • Plaintiff must file this cover sheet with the first paper tiled in the action or proceeding (except small claims cases or cases filed
        under the Probate Code, Family Code, orWelrara and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure ta file may result
        in sanctions.
      • File this cover sheet in addition to any cover sheet required by local court rule.
      • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of thls cover sheet on all
        other parties to the action or proceeding.                           .
      • Unless this Is a collections case under rule 3.740 or a complex case, this c:,over sheet will be used for statistical purposes on\ri
                                                                                                                                                                       1012
 form Atlo.teu ror M:JlldalOI)' Uoo                            CIVIL CASE COVER SHEET                              Cal. Ru!es oreoun. rulos 2.3D, 3.220, 3."1Xh'l.403, 3.7◄0;
   Judlciol CoulOI or Cslllomla                                                                                            Cal. SU>ndard, or JL<fidel Adminbtmiion, s1d, 3, 1D
    CM-010 IRov. July 1, 2DCJ7]                                                                                                                    ;    wNW.coultlnlb.c•.oov
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                                                                                                                                           CM-010
                                          INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing Fir&t Papers. If you are flUng a Hrst paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Shoot contained on page 1. This infonnation will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheel In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum staled to be certain that is not more than $25,000, exclusive of inieres1 and attorney's fees, arising from a transaction In
which property, services, or money was acquired on credit A collections case does not include an action seeking the foflowing: (1) tort
damages, (2) punitive damages, (3) recovery of real praperty, (4) recovery of personal property, or (5) a prejudgment writ of
attachment The identification of a case as a rule 3.740 colleotlons case on this form means that it will be exempt from the general
time-for-service requirements and (jlBse management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements fur service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. lf a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the approprtate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the actlon. A defendant may file and serve no later than !he time of its first appearance a Joinder in the
plaintiffs designation, a counter-designation that the case rs not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)...Personal Injury/Property           Breach of Contracl/Warranty (06)               Rules of Court Rules 3.400-3.403)
         Damage/Wrongful Death                           Breach of Rental/Lease                           Anfltrustrrrade Regulalion (03)
     Uninsured Motorist (46) (if the                         Contract (not unlawful detainer              Construction Defect (10)
         case /nvofves an uninsured                               or wrongful eviction)                   Claims lnvoMng Mass Tori (40)
         motorist a/aim subject to                       Contract/Warranty Breach-Seller                  Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)          Environmental/Toxic Tort (30)
         Instead of Auto)                                Negligent Breach of contract/                    Insurance Coverage Claims
Other Pl/PD/WO (Personal lnjwyl                              Warranty                                          (arising from provisionally complex
Property Damage/Wrongful Death)                          other Breach of Contract/Warranty                    case type fisted above) (41)
Tort                                                Collections (e.g., money owed. open              Enforcement of Judgment
     Asliestos (04)                                      book. accounts) (09)                             Enforcement of Judgment (20}
         Asbestos Property Damage                        Collection Case-Seller Plaintiff                     Abstract of Judgment (Ou! of
         Asbestos Personal Injury/                        other:Promlssory Note/Collections                        County)     :
              Wrongful Death                                  Case                                             Confession of Judgment (non-
     Product Liability {not asbestos or               Insurance Coverage (not provisionaRy                          domestic relations)
      • toxiclenvironmentaO {24)                          complex) ( 18)                                       Sister Slate Judgment
     Medical Malpractice (45}                             Auto SUbrogatlon                                     Administrative Agency Award
         Medical Malpractice-                             Olher Coverage                                          (not unpaid taxes)
              Physicians & Surgeons                  · Other Contract (37)                                     Petition/Ce11ificatlon of Entry of
         Other Professional Health Care                  Contractual Fraud                                        Judgment on Unpaid Taxes
              Malpractice                                Other Contract Dispute                                Other Enforcement of Judgment
     Other PI/PDM/0 (23)                          Real Property
                                                                                                                   Case
         Premises LiabUity (e.g., sllp               Eminent Domain/Inverse                            Miscellaneous ClvU Complaint
              and fall)                                  Condemnation (14} .                              RICO (27)
         Intentional Bodily Injury/PD/WO              Wrongrul Eviction (33)                              Olher Complaint (not specified
                                                                                                               above) (42)
                   (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)
           Intentional Infliction of                     Writ of Possession of Real Property                   Declaratory ReHef Only
                                                                                                               Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                       harassmenQ
           Negligent Infliction of                       Quiet Title
                                                                                                               Mechanics Lien
                Emotional Distress                       Other Real Property (not eminent
                                                                                                               Other Commercial Complaint
           Other Pl/POMO                                 domain, Jandford/fenant, or
Non-PIIPDIWD (Other) Tort                                 foreclosure)
                                                                                                                   case {non-tort/non-complex)
                                                                                                               Other Civil Complaint
   Business Tort/Unfair Business                  Unlawful Detainer                                               (non-torttnon-compfex)
         Practice (07)                                Commercial (31)                                  Miscellaneous Clvll Petition
     Civil Rights (e.g., discrlminaUon.               Residential (32)                                     Partnership and Corporate
         false arrest) (riot civil                    Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                                drugs, check this 11am; otherwise,               Other Pe1!1ion (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                   above) (43}
            (13)                                  Judicial Review                                               Civil Harassment
     Fraud (16)                                       Asset Forfeiture (05)                                     Workplace Violence
     Intellectual Property (19}                       Petition Re: Arbitration Award (11)                       ElderJDependent Adult
     Professional Negligence (25)                     Writ of Mandate (02)                                           Abuse
         Legal Malpractice                                Writ-Adrnlnistrative Mandamus                         Election Contest
         Other Prof~ssional Malpractice                   Writ-Mandamus on Limited Court                        Petition for Name Change
              (not medlcaf or legaQ                           Case Matter                                       PeUlion !or Relief From Late
      Other Non-PIJPDIWD Tort (35)                        Writ-Other Umlted Court Case                               Claim
Employment                                                   Review                                           · Other Clvil PetiUon
   Wrongful Termination (36}                          Other Judicial Review (39)
   Other Employment (15)                                 Review of Health Officer Order
                                                         Notice of Appeal-Labor
                                                             Commissioner Apoeals
CM.010 [Rev. Julf 1, 2007]                                                                                                                    ; Pa902of2
                                                      CIVIL CASE COVER SHEET
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                                                                                                                 C/1$ENUM81!R
    SHORT nnE, Simon v. Wells Fargo.Bank,             Na~o,:ral Assqc;i~tion


                                                                                                    I
                                                   C(VIL.CA$E COVER SHEJ:T AOOENDUNI AND
                                        STATEMENT OF LOCATION
                   {CERTIFICATE OF GR0UNDS FOR·A~SIGNMEN:r TO C.OU~THOUSE LQCATJ0~)
                  This form Js required pursuant to.f:.~al Rule 2.3 In all new.civil ca!!e filings 111 the L~is Angeles Superl9r. qourt•.



         Step 1: After completing the Civll Case Cover Sheet (Judicla.1 Council form CM-01'0), find the exact case type.in
                 Column Athat corresponds. to the ca!i~. t)'.i>e fndica·t~~ Jn the Civil Case Cover Sheet.          .

         Step 2: In Column~. check the box.forJhe typ_e· of action that be~t describes the nature of the case:

        Step 3: In column C, circle the number which explains the reason forth~ court filing location you have
                      chosen.

                                               App!icabte.R~asons for Choosii:ig Court Filing LQcation (Column C)

  1. Class acUollS must be filed in lha l:lf!ioley Mosk·Go(fl')house, Cefl\ral l)islrl~         7. tiles.lion whera petilioner resides.
  2. Perrn!ssiva fifing in oeotral district.                                                    8 .. l.ocatiori wherein darendant/respondent functions whplly.

  3. Location where cause otacilo9·arose.                                                       9. LocaH~n where one·or'mor1;1 oflhe.~!fl!llf~de.
 4. Mandato,y personal ln)ury filing In, North bistijcL                                     10. li.!cationorLatior,Commlssiol\6rOffi~.           '
                                                                                           U. Mandatory filing loc;ation (Hup (:ases -unl,iwful deti!iner, lfmlted
 5. location \\here.perfonnance required or defendant.resides,                             non-col)ec~on, Umlte.d collectlon, or-personal injury):
 6, Localion of property or permanently,g~ged vE!hi,:18,




                                                       O A7100 Motor Vehicle - Peisonal I11/urylf'ro~rt.y Oamag!l,Wrongful Oeillfl'

                       Uninsured Motorist(46)-         0 A7110, Perso.nl\l ll)jury/PropertyOamageMlrorigful Doatli-Unir,sured Motorist                1, 4; 11


                                                       □ /i.6070   Asbeslo$ Property ~mage                                                            1, 11
                            Asbestos (04)
                                                       0   A~22J 11:!!~los - Personal Injury/Wrongful Deatli_                                         {, 11

                        P(Oduct Ua_bmty (24)           □ A726f? Pm,:lucf L\!lbllity (nol asbest~s ortoid~enYlri>nmernarJ

                                                       D A7.210 Medical Ma!practice • PIJY9i•~!>OrgeoJl$                                             1.~.1,1
                                                     . 0 ~?2•40 Olher P.n:>fesslonal H!ll!i!h. Care Malpractice                                      1, 4, 11


                                                      □ .A7250 Premi$eS llal;>ilitY, (a.g., s6p ~nd faR}                                             ;,,4; 11
                          Other Personal
                          Injury Property'            □ A72~ Intentional Ek.)Qlly lnjuryfPropMy Damagefflrongful Dealll·(e:g,.                       1,4,   H
                         Damage Wrongful                           assault, vanc1a11sm,.etc.)       ,        ,
                             Death (23}             , ·□   AV:,O Intentional lnOi~on of E:mollbnal Oistre:;s
                                                                                                                                                     1,4. 11:
                                                                                                                                                     f, 4., 11
                                                      EJ A7220 Olher Personal lnjury/P(Operfy Oamag!)IWl!lngful Daalh




    LASC CN 109 Rev. 12118
                                                    CIVI_I,,. QA.SE COYER Sff_EET J\Ql;)ENDUM                                                  L9R.SI Rule Z:3·
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                                                        . AND STATEMENT OF LOCATION                                                                  Pag~ 1.of4




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 ISHORTTrn.E:           Simon v. Wells Fargo Bank, National Association                                     ICASE NUMBER



                           ;·,•:;-'     ..,A.'      .··                                         1,v,'13-,                                                C
                                                                                                                                                        Applicable •
                          •',,CivilC3s~•Covei.sruiat , ..:                                 '" . r9Pi~t.Action :                                   Reasons - ,See Step 3
                            ." ..c:ai~DfY.No·.· -                                            (Check only on~).                                          Above

                               Business Tort {07)            D A6029 Other Commercial/Business Tort (not fraud/breach of contract)                1,2, 3
         >,        t:
      t:           0            Civil Rights (08)            D A6005 Civil Rights/Discrimination                                                  1,2, 3
         Cl)       I-
         O..c
     e cii
     0. cu
     ~~
                                Defamation (13)              D A6010 Defamation (slander/libel)                                                   1, 2, 3                 ,,
     E..'2
     C   CJ
     -             C:                 Fraud (16)             D A6013 Fraud (no contract)                                                          1, 2, 3
     cue
      ~-g>
      5 ==
      Cl)
     0.
                   a,
                         Professional Negligence (25)
                                                             □ A6017 Legal MalpracUce                                                             1, 2, 3

                                                                                                                                                  1,2,3
                                                                                                                                                                               ·'-,
     c0 .,
        E                                                    D   A6050 Other Professional Malpractice (not medical or legal)
     :zo
                                      Olher(35)              □ A6025 Other Non-Personal Injury/Property Damage tort                               1, 2, 3


          -.,,
            C

            E
                           Wrongful Termination (36)         □ A6037 WrongfulTerrninaUon                                                          1, 2, 3

            >,
            0                                                0   A6024 Other Employment Complaint Case                                            1, 2, 3
          ci.               Other Employment (15)
            E                                                □ A6109 Labor Commissioner Appeals                                                   10
          w
                                                             □ A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful           2,5
                                                                         eviction)
                          Breach of Conbact/ Warranty                                                                                             2,5
                                      (06)                   □ A6008 ContractM/arranty Breach -Seller Plaintiff (no fraud/negligence)
                                (not insurance)                                                                                                   1,2, 5
                                                             □ A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                  1, 2, 5
                                                             □ A6028 Other Breach of Contract/Warranty (not fraud or negligence)

            0                                                □ A6002 Collections Case-Seller Plaintiff                                            5, 6, 11
             l!!                Collections (09)
            'E                                               □ A6012 Other Promissory Note/Collections Case                                       5, 11
               0                                                       .                                 .
            u                                                □ A6034 Collectlons Case-Purchased Debt (Ch'arged Off Consumer Debt                  5, 6, 11
                                                                     Purchased on or after Januarv 1 20141

                            Insurance Coverage (18)          □ A6015 Insurance Coverage (not complex)                                             1,2, 5, 8


                                                             D A6009 Contractual Fraud                                                            1,2, 3,5

                              Other Contract (37)            □ A6031 Tortious Interference                                                        1,2, 3, 5

                                                             □ A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                1,2,3,8,9

                            Eminent Domain/Inverse           D   A7300 Eminent Domain/Condemnation                Number of parcels_ __           2,6
                              Condemnation (14)

                             INrongful Eviction (33)         □   A6023 Wrongful Eviction Case                                                     2,6


                                                             □   A6018 Mortgage Foreclosure                                                       2, 6

                            Other Real Property (26)         □   A6032 Quiel Trtle                                                                2,6

                                                             □   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6


               .."'
                C:
                         Unlawful Detainer-Commer,cial
                                      (31)                   □ A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)                6, 11

               iii        Unlawful Detainer-Residential
               'Iii                                          □ A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)               6, 11
               0                      (32\

               ~
                              Unlawful Detainer-
                             Post-Foreclosure (34)           □ A6020FUnlawful Detainer-Post-Foreclosure                                           2,6, 11

               c"'
               :::,       Unlawful Detainer-Drugs (38)       □ A6022 Unlawful Detainer-Drugs                                                      2,6,11



                                                             CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
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                                                                AND STATEMENT OF LOCATION                                                         Page 2 of4
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  I
  sHORTTmE:         Simon v. Wells Fargo Bank, National Association                                                            ICASE NUMBER



                    .... ,_.,_-._.           A.. ·-:· ··-••· _,,, ....       .    •··:•~(~
                                                                                       :,•
                                                                                                                ~y,.,9         ·,:·•;' .- -     ''-;,.~.- i ·'CApplicabll--
                      · '~Cl~I ~ - ~ r Sheet                   ,-                                              Type.of Action· :                  ,.· :    Reasons • See Step 3
                                     Categoay No.                                                             (Check only onii) , '                            : .Above
                                         ;   ~   ~                                                               ~    ,·   '

                                                                                                                                                           2,3,6
                              Asset Forfeilure (05)                 □ A6106 Asset Forteiture Case
                                                                                                                                                           2,5
                            Petition re ArbltraUon (11)             □ A6115 Petition to Compel/ConfirmNacateArbitration
       t
       ~                '                                                                                                                                  2,8
       a:                                                           □ A6151 Writ-Administrative Mandamus
       'io                                                                                                                                                 2
       u                      Writ of Mandate (02)                  □ A6152 Writ - Mandamus on Limited Court Case Matter
       =a                                                                                                                                                  2
       ..,
       ::s                                                          □ A6153 Writ - Olher Limited Court case Review
                                                                                                                                                           2,8
                            Other Judicial Review (39)              □ A6150 OtherWrit/Judiclal Review

                     Antitrust/Trade Regulation (03)                □        A6003 Antitrust/Trade Regulation                                               1, 2. 8
       C
       0
       ~                                                                                                                                                    1, 2. 3
                             Construction Defect (10)               □        A6007 Construction Defect
       g>
       ::J
        ><                  Claims Involving Mass Tort                                                                                                      1. 2, 8
       .!!!                                                         □        A6006 Claims Involving Mass Tort
        D.                             (40)
        E
        0
       u                     Securities Litigation (28)             □        A6035 Securities Litigation Case                                               1. 2, 8
       2:-
       'io                          Toxic Tort
        C                                                                                                                                                   1, 2. 3, 8
        0                                                           D A6036 Toxic Tort/Environmental
       "iii                     Environmental (30)
       >                    Insurance Coverage Claims
        2                                                           D A6014 Insurance Coverage/Subrogation (complex case only)                              1,2,5,8
       a..                    from Complex Case (41)

                                                                     □ A6141 Sisler State Judgment                                                          2. 5, 11 .
                                                                     □       A6160 Abstract of Judgment                                                     2,6
      cc
      a, "'
       E  E                            Enforcement                   □       A6107 Confession of Judgment (no"'1omeslic relations}                          2.9
       a, C)
       u      "CJ                    of Judgment (20)                0       A6140 Administrative Agency Awan! (not unpaid taxes)                           2,8
      ~~
      C -0
      W                                                              □       A6114 Peution/Certificate for Entry of Judgment on Unpaid Tax                  2,8
                                                                     □       A6112 OlherEnforcementofJudgmentCase                                           2,8,9

                                        RIC0(27)                     □       A6033 Racketeering (RICO) Case                                                 1. 2, 8

                                                                     □           A6030 Declaratory Relief Only                                              1,2, 8

                                 Olher Complaints                    □           A6040 Injunctive Relief Only (not domestic/harassment)                     2,8
                             (Not Specrned Above) (42)               □           A6011 Olher Commercial Complaint Case (norrtort/non-eomplex)               1,2,8
                                                                     □           A6000 Other Civil Complaint (non-tort/non-complex)                         1, 2, 8

                               Partnership Corporation
                                                                     □           A6113 Partnership and Corporate Governance Case                            2,8
                                  Governance (21)

                                                                     □ A6121 Civil Harassment With Damages                                                  2, 3,9
        en en
        ::S
        0
                C
                0                                                        □ A6123 Workplace Harassment With Damages                                          2,3,9
        ca,    ·-
               ~
       .!!!    m                Olher Petilions (Not                     □ A6124 Elder/Dependent Adult Abuse Case Wilh Damages                              2,3,9
       cu   a..
        u >
        II)
               =                Spe~ed Above) (43)                       0 A6190 Election Contest
                                                                                                                                                            2
       :§ 0
                                                                         □ A6110 Petition for Change of Name/Change of Gender                               2, 7
                                                                         0       A6170 Petition for Relief from Lale Claim     Law                          2,3,8
                                                                         0       A6100 Olher Civil Petition                                                  2,9




                                                                    CIVIL CASE COVER SHEET ADDENDUM .                                                     Local Rule 2.3
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                                                                       AND STATEMENT OF LOCATION                                                               Page3of4
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  SHORTTmE:      Simon v. Wells Fargo Bank, National Association                              CASE NUMBER




 Step 4: Statement of Reason and Address: Check the appropriate boxes for the number~ shown ~nd~r Colu~n ~ for the
               type of action that you have selected. Enter the address which is the basis for the fihng location, mdudmg zip code.
               (No address required for class action cases).

                                                                       AODRESs,
    REASON:
                                                                                       111 North Hill street
     ~1.!i:l2.l;::t3. □ 4. □ 5.O6. □ 7.     O8.O    9. □ 10.011.




    CITY:                                      STATE:     ZIPCOIJE:

    Los Angeles                               CA         90012

 Step 5: Certification of Assignment: I certify that this case is properly filed in the            Los Angeles                          District of
               the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3{a)(l)(E)].




   0 ;ted: November 22, 2019
                                                                                          (SIGNATlJRE OF ATTORNEY/FILING PARTY)




   PLEASE HAVE THE FOLLOWIN~ ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
   COMMENCE YOUR NEW COURT CASE:                                         .

            1. Original Complaint or Petition.:
            2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
            3. Civil Case Cover Sheet, Judioiaf Council form CMa010.

        _4. Civil Case Cover Sheet Addendum and Statement of Location form. LACIV 109, LASC Approved 03-04 (Rev.
                ~~                                                                 '




            5. Payment in full of the filing fee, unless !here Is court order for waiver, partial or scheduled payments.
            6. A signed order appointing the Guardian ad Litem, Judicial Councn form CIV-010, if the plaintiff or petitioner is a
               minor under 18 years of age will be required by Court In order to issue a summons.

            7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
               must be served along with the summons and complaint, or other initiating pleading In the case. .




                                              CIVIL CASE COVER SHEET ADDENDUM                                                Local Rule 2.3
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                                                 AND STATEMENT OF LOCATION                                                        Page4of4
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                                                              EXHIBIT "B"




                  EXHIBIT "B"
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 46 of 92 Page ID #:46

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                                                  SUMMONS                                     I                               FORr:otlRTUSEONLY
                                                                                                                         (SOI.Ol'ARAU$0 Ol;1 IA COR~
                                         (CITACION JUDICIAL) .                                \
 NOTICE TO DEFENDANT:
 (AV/SO AL DEMANDADO):
     WELLS FARGO BANK, NATIONAL ASSOCIATION, a National
     Banking Association; and DOES 1 through 100, inclusively,
 YOU ARE BEING SUED BY PLAINTIFF:                                                                                      OEC O2 2.0lS
 (LO ESTA DEMANDANDO EL DEMANDANTE):                                                             . r1Ucrk of Court
     CAUDLEY SIMON, on behalfofhimself; all others similarly situated Sh• rri lt.
                                                                                                          ; Deputy
                                                                         ii'/ _.jQ..;,4~-/.'-::.:--:::---
                                                                                                                       Sh~v~n Drew
     NOTICE! You have been sued. The court may decide against you v.ilhoul your being heard unless you respond within 30 days. Read the Information
     below.
        You have 30 CALENDAR DAYS alter 11'118 summons and legal papers are served on you to fileawrittan response at this court and have a copy
     served on the plalnUff. A letter or phone call will not proledyou. Your written response must be In proper legal fonn If you want lhe court to h6aryour
     case. There may be a court form flat you can use ~ryour re11ponse. You can llnd lhase court forms and more Information al the GalifomiB Courts
     Online Self-Help Center. (www.courtinfo.ea.gqvt.se/lhe/p}, your county law library, or the COUl'thousa nearei:t you. If you canMt pay the filing fee, ask
     the court clerk for a fee waiver form. ff you do not file your response on lime, you may lose the case by default, and your weges, money, and property
     may be taken without further warning from the court.
         There are other legal requirements. You m.ay want to call an attorney right a.way. If you do not know an attorney, you may want to can an attorney
     referral service. ff you cannot alforn an attorney1 you may be eligible for fr~ legal services fitlm a nonprofd legal services program. You can locate
     these nonprofit groups al the Callfomla Legal Services Web sllf!l (www.JawfrefpcaJifom/a..Of9), the Callfomla Courts Online Self-Help Center
     (www.courlinfo.ca.gov/seflht:lp), or by coniactlng your local court or counly bar association. NOTE: The C®rt has a slatutory lfen rorwalved fees and
     costs on any settlement or arbilralion award of $10.000 or more In a cMI case. The court's lien must be paid before the court will dismiss the case.
     1A visor Lo /um demandado. SI no iespande dentro da 30 dlas, ia r:cire puede.decktir en .w contra sin escuchar su version. Lea /a lnfom1ac/6n El
     contlnuacron.
        Tiene 30 DIAS DE CALENDAR/0 de:r.plJfls de qu& I& &ntregwn esta citaci6n y pa//ekls fegales par& p,esentar uns respt.testa por esc:ntc, en &Shi
     ca,te y /Jac:ar qu1ue enltegue una.aapla al demsndante. Una carte o uoo 1/amsda lelf/f6nlca no lo prolegen. Su respuesta por esctllo 1/en& qua_ estar
     en formsto llilgBI correcto sl de.saa que proc&sen BU csso en la c:0/te. Es posible que haya un formularfo que uslod puede usar para su respueStli/.
     Puede encontrar estos formula~ de la corte y mss /nformar;l6n en el Cenln:1 de Ayuda de las Cotte.s de CIJIJfomla 1',1Mw.BUC0rte.ca.gov,), en la
     biblioteca df/1 /eyes d6 su condado o en la carte qua le quede mfis cen;;a. SI no puede pagar la cuolll de pieSMtacion, piJ:Ja al :iectrJt8rio de la corfe
     que le dfl un (0011ularlo <!o exefl(;](m de paf}(> de cuotas-. Si no presenta 1ru respuesta a liempo, puede perderel ca.so par tncumpHmlento y la cotto le
     podra quitar su sue/do, dlnero y bienes sin mss edvemmcia. :                                          :                                :       .
       Hay otros ,equtsitos /Bgales. Es reoomendab/a que Hama a un abcgsdo inmedfatamenle. Si no conoce a un abogado. puedt; 1/amar a un sefVir;/o de
     remlsl6n a abogedos. Si no"puede pager a un sbogsdo, es pQS/ble que cump/a con las ,eq!lisilos para obumar seNJ'cio$ lega/es gralullos de un
     programs de servk:ios legeles sin fines de lucre. Puede enoontrar estos fJTIJPOS sin fines de tucro rm al :;ifio web de Ce/lfomla Legal Services,
     (www.lawhelpcafffurn!a.org). en al Centro de Ayudlil de fas Cortes'de Cstlfomfa, (WWW.sucorte.ca.govJ o pon~ndose en contsclo con la corn, o et
     cofeglo de abogados locales. AV/SO: Por ley, ta corte tlene derec/Jo Iii roclamsr las cuotas y fas costos exentos par imponer un gravaman sobm
     cuE1fquiM' reauperac/on de $10,000 om6s de vs/or maibids medianle un acusrdo o uns aoncesl6n de 81bilraje en un case da d~ho cMI. T1ene quo
     pagar ef gravamen de /a co/to anles de qua la cone poods desechw el caso.
 The name and ilddress of the court Is:                                                                        CASE NUMBER:
 (El nombre y direcci6n de la corta es):
     111 N. HilI Street
                                                      Stanley Mosk Courthouse                                  /Nan>O!Qde/C°l   9ST CV 4 2777
     Los Angeles, CA 90012
 The name. address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
 (El nombre, fa direcci6n y ef numaro d11 ta/Mono def abogado def demandante, ode/ damandante qua no Dana abogado, es):
     Shaun Setareh, Esq., 315 South Beverly Drive, Suite 315, Beverly Hills, California 902.12, (3 l 0) 888-7771

 DATE:
  (Fecha}
                    DEC O2·:::20,9:
                   .}
                                                   Sh
                                           erri R. Carter, Clerk       (Saaretario}
                                                                                    . Clerk, by                                                        ,·Depu~
                                                                                                                                                        (Adjunto}
 (For proof of service· of this summons, use Proof of Service of Summons (ibrm POS-010).}
 (Para prueba de entroga de esta citati6n use el formularlo Proof of Service of Summons, (POS-010)).
                                    NOTICE TO THE PERSON SERVED: You are se,ved
   [SEAL]
                                    1.            D
                                             as an individual defendant.          /
                                    2.            D
                                             as the person sued under the fictitio,us name of (specify);
                                                                                    -WELLS FARGO BANK, NATIONAL ASSOCIATION, a
                                             3.   KXl     on behalf of (speclfy):    National Baking Association         -
                                                  under:   D       CCP 416.10 (corporation)                    D       CCP 416.60 (minor}
                                                           D       CCP 416.20 (defunct corporation)            D       CCP 416.70 (conservatea)
                                                           Im      CCP 416.40 (association or partnership)     D       CCP 416.90 (authorized person)
                                                      ·           other (specify):                •       l.
                                             4.   [W      by personal dellvery on (date):    l--Z,\ l O   \(   1                                         Pa   hl1
     Fann ACklptedTorMsndalnty UM                                            , SUMMONS                                            Co<lo of CIYII- §§412.21), .cl!S
                                                                   ~
       Judicial Council of Csllfomla
      SUM-100 [Rov. J,lllf 1, :lll09J   Date Ser,ved: '-""'2--\ \.C:::.l7                                                                       www.~.IJO'l

                                        Time Served:        1\
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                                        4 o7 o t £."'9
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                                                              EXHIBIT"C"




                  EXHIBIT "C"
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 csc                                                                                                                     SKD/ ALL
                                                                                                      Transmittal Number: 20817444
Notice of Service of Process                                                                             Date Processed: 12/11/2019


Primary Contact:           WF West - WF Bank
                           Corporation Service Company-Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       Wells Fargo Bank, National Association
                                              Entity ID Number 2013649
Entity Served:                                Wells Fargo Bank, National Association
Title of Action:                              Caudley Simon vs. Wells Fargo Bank, National Association
Matter Name/ID:                               Caudley Simon vs. Wells Fargo Bank, National Association (9842041)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Labor/ Employment
Court/Agency:                                 Los Angeles County Superior Court, CA
Case/Reference No:                            19STCV42777
Jurisdiction Served:                          Delaware
Date Served on CSC:                           12/10/2019
Answer or Appearance Due:                     30 Days
Originally Served On:                         csc
How Served:                                   Personal Service
Sender Information:                           Shaun Setareh
                                              310-888-7771
Client Requested Information:                 Matter Management User Groups: [LITIGATION Employee]
                                              Routing Rules (CSC): R0710
                                              Classification: Standard

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888} 690-2882      I   sop@cscg1oba1.com
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                                                              EXHIBIT "D"




                 EXHIBIT "D".
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         , Comptroller of the Currency
          . Administrator
                       - of National Banks
                                      .•


           Washington, DC ZD2l,9




                             tERTIFiED :ARTICLES OF ASSOCIATION
              ohh Walsh,
           I. J            Acting Cpinptroller of th~ Currency •. do hereby certify that the · _
           document hereto at;tached is a true   andcorri;ct copy-,:·as recorded inthe Office of ·.. ·. -
         . the Cornptroll~r of the Currency;- of the currently effective Articles of Associatiou ·-. -
           for ,~'Wells Fargo Batik, National-Association," Sioux Falls, South-Dakota (Charter
           No. 1).




                                                    IN IBSTIMONY WEER.EDF, today, March

                                                       27~ 201i; I have hereunto pUDscrlbed my                  j
                                                                                                            .   I

I                                                      name and caused my seal
                                                                          '
                                                                               of office to. be
                                                                                     .            .
                                                                       ~

                                                       afflxed to these presents at tfo~ U.S. ·
                                                       D,ypa.rtment of the Treasury'" in the City of

                                                       Washington, District of Golumbia.




                                                        Acting Comptroller· of the Currency
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                                             ARTICLES ()F ASSOO!ATION .
                                                        OJI'
                                    WELLS ll'ARQO n~ NAJ'l~NAL ASS9ClATION



                                                          AR.TlCL:E I" NAME
                   The titleoftbis.Assm::Wion. shall be Wells Fargo Bimk, National A.ssociHtion. The
            Association   mey~sou~ the ~breviation Wells Fargo Bank, N.A.

                                                    : ARTICLE II~ OFFI~S
                                                     '·
                      .                                    .                  ..
                    1: Main Office. The main. office of tlcis ~ociation shall be in the City ofSioux Falls, .
            County ofMinnehalia, S~ ofSo-ufu Dakota. The Bom:dofDirectors shalfhave the power to
          · change the location of1hc mitln office 1n BilY otlier pl~ within the limits of the City of Sioux
            Falls, ~thout the approval of the shar.eho lderi; ~ subj~ to 1ru; approval of the ComptroIler of
            ihe, Currency.                  ·

             . . ,2. Branch     6mces~    The Bom;d of Directots shall J:utve ihc power to eirtahlish or change
           ·the location ofimybi:imch orbni:nches o{tbis Associmioido any other location, wifboutthe
            appit;tval of the s~ldci:11 but-subj~ to the approval of 1!:ie Coropt:Ioiler of the ~ y . -
                   .            '     . .   .   '              . .                 ,. '  .             .
                     3. Condnct bfBu~. The general business of 1ht:: .Association shall be cgndncted af·its ·.
                                                                                                                ~


           Il1Bln office 8D(lits bnµicb,es.          .       .        .                 : :r-
                                                 ..
                                        ~CLEIIl~BO~ OFDm:&C'l'ORB

                   i.. Number. the Boarci ofDired:ors of 1his As&00iati.on shall consist of not les~. than five
            nor more fii.m twcn:f:y•fi-ve persoJ;IBi the e:mc.t number.to be fi:x.ed. and detf;rmined .from.time to _
            time by resolutfon ofa.migQtlty of. the flill Board. of Directors or by resolution of the shareholders
            ¢ ~r fflll:l~ or special meeting tiueor. .                                                             ·

           ·   -· : 2. Qpalifioation. Each diroo~r, during -ihe full tenn of~ or her directon:bip, shall own
            atnmirim.m of$l,000parvolue of stock oft.his Association or a.n-equivalcntintei~ RB . : ·
         . ~ by the Comptroller ofthe Cum;ncy, in e:ny compari.y vvhich has oonfrol oVQr this
          · Association wnhin ~e·meardng of Scouon i of fi1e Bai:ik Ho!ding Company Act of 1956..

            .           3. V~ - The Board· of-Directors,. by tlie :vo'!e Qf ~ ~ajorlty of ihe :full Board, may,.
          · ·between mnmal meetings of.share~~lde~, fill vacanqieJ create,J. by.1he d.eafu; incapaeio/ or ~
   "'   ' resignation ofimy director and bytbe vote Qf a_m;mity oftbe full Board_ may also, between ·
             aoµual meetinga o:hbareholders, Increase 1he membel.'Sltlp of the Board by not more than four
             Ji'lenmers a.nd by~ vote ~point;:qualified pa:rons to. fill the va~~es cte/$:d-1:hereb'y; ·
             provided, however, 1harat no fune shall '!here be lllOre thau twenty-five <fireotors of this      ·
          · Assooi~o~ and provided further, however, tilllt not mnre then two members- ~ be added to
             the Board of'Directoi;s in 1.be ~fhm:the totil rmm.ber ofd.ireotors l~ eleotecl by shareholders
             :was :fift:e;en odes&. ·       .    _                 .         .       ·      ,. .     ·      ·
    Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 52 of 92 Page ID #:52




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               ·'!.'
         rk:      ..                                                                                                              . ...
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    ,.                                                                                                                                         I
                                                                 ..                                                                            I
                                                                                                                                               f.
                                4. ,Awoinf:ment of Officers, The Board of      Direct.on:shall appoint one of it:i members
                        P1-eside:nt'Dffuis Asoociaficm, who ~hall act BS' Chauman of the T3oard, 'Qn}ess the Board iq,points ..·
                        ano1he.r director 1o act as Chairm.rm:• In the event the Bom:i ofi-I;>irectora shall appoint. a President·
                        and a Chainnan; 1he Board shall designate wb;.ch pei:so~ shall act im the chlef executive ofl;ioer of'
                        this Association. The Bonrd o:f ])freoful'S shall have the poy.,e1.~ to-appoint one or more VJ.Ce
                        Presidents and to appoint a. Cashier and such other officers l!JlQ employees as may be required to
                        µansiwt :dle bQsiness of1his Association. '
                                          .                                                    ...                          .
"                                 5. - ~ The Board ofI>irectrn:g shall have the power to define the ~ties ofthe
                       · officers end _employees of"fhis Assotjafion; to fix the salaries to be peid to them; to dismisii them;
                         to require bands :frQ:m th~ and to fix the penalty fhei:eof; to regulate the romm.e;r 111 which the
                         inciease of ffie oapiful oftpis .Association shall be made; to J:!'.!8.IlHge nnd _ij(]ministey the business
                         and "affa.i:rs of this Associ.ldion; ~ lill'ike all Bylaws tbalit may1'<:; la~ fur fl.1.em fu m.alcc; and
                       'generally to do and perlbnn all !}Cf:; tb.at~t ron.y be legal for a Board 9.fDircctor; to do   and .
                        prrlorm.- ...

                                               ARTICLE IV'~ MEE'l'INGS OF SIIARFJIOLD:ERS

                                 I: Annual Meeting. The lllUl:tuil mce1ing of the sh&eholders for the election of directors
                        arid tho ~ o n of whatever 0th!'[ business mey l>e brought before said meeting S.hall be held.
                        atJbe main office, or such other place BB fue·:Boimi of Directors may designate, on the diy of.
                        eaoh y6.!U' $pCC}ified 1hemfur in 1he Bylaws, !)ut if:no election is held on that day, it may be he~d on
                        any irubs~ day according to (Jie_pro;visicins ¢'law; ~ all elootiom sl:i.rill be'held according
                        to such lawful regu~lltiaml Wl may be presarlbod by the Board. of Directors...
                                                                                                                                              .I
                                2; -~al ~ The B6ard ofDirectms, thiCh~ the President, or any one ~
                        1note shareholdffl'S owning; in t h e ~ notless 1han.25 peroent'oftlie stock oftltls                     . .- . ,..
                                        may
                        Association. .(?all a special meeting of slmreho1dem at an.y time. "
                           .. 3, Notice of Meetings, Unless o!herw1se providr41;,y fut:) laws oftb.e        Uniied
                                                                                                              States, a.
                     notic:e of:lhe'time, place; mi pm;potre of every•B,llllllal and specialmeeting.of the sh&reholders ·
                     shall be glv~ by fin.t-:c}ass mail, popmge prepaid, mailed. at least wn d~ prior to the date of
                  . :..socnmeetingto eachshereholderof,teootd atbis orber address,as shown upon. the books of this
                       · &ro.cf~on.                     .                         .                                   ··
                                 4 W'nt;ibn ~ Any f!Cfion requimd or permitted-to pe taken at an mn;i.~al or special ·
                       -mc:efu:t.g' oftbe shareholders of'the Associafion may be taken without pdor written nonce and ·
,·                     _without ·any meeting if mcb action ii; talren bytwr:it!en ecfion, oon:tainb,ig a waiv<;?t ofnotice,
t                       signed by all of the shareholders entitled to vote on tha:t actio11.

                                                            . .ARI'ICIE V - C,UITAL ·

                          .      1: Qmitaliza.1icm. The amount of authoriw:i~ capital stock ofthis ABsocillfion shB:11 be.
                        $1,122,000,000; divided into 112,:WO,OOD·shm:es of common stock ofttie pw: value ofTen
                        Pollm:s ($10.00) each; butsa~;<l capibtl !ltbck may be increased or deore:ased from time to time, in
                        ru::oorchmce with f:be,provisjolllI of~ laws olftbe United stfttd       .
                                                                            -2-
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                                                                                                                                                                                  i.




                    2. V Qf:ing Rig\$. .Each holder of CQmmon stock of the Association shall be entitled to
           vote on ell mattms. cme vote fur eacll share of ~n:sto;k held hy suf?h bolder. No holder of ·
J          shares of the capital slock of any class oftbifl ~clafion. shall liave any pre.-emptive or
           preferential rlght-df ~bscription to any sharell of my class of :m:>Ck _ofthis Ass®iaticm, whether
           now or herea:fter ~ odo any ohligajiom1 convertible into stock of this Association:; ·
          issued or sold, nor anyrlght of'S!Jbscripfum to any thereof.other than llllcih;if any, as the Board of
        . Dm:dors., :in its discretion, :may :from time to .fipie defe.tnrine fWd at sucb price asJhe Board of
          ])ired:ors IDB¼' from time 1o time       fix: .                              .                               .
                  3:. pebt Objj.gafions,. The Association_ at any "t4ne·and from time_to titn~, ma:y authorize
           md isime debt. obligations, whctber=-. or nor subordinated,
                                                          •            withoutfue.iwpmval
                                                                          .      •          of the i;harehnlders.
                                                                                                     •.                                                        ~




                                     .ARTICLE VI~ :PElU"ETUAL KXISn:NCE.
r:
                   Tue·cm:porate e.xistelice oftbis Associatl.Oll shall continue until tenni:natei! iu·accm:cfance
           wi:th the laws of the l).nited,.States,
                                           '   '                                             .
                                         ARTICLE VJl ~ UjD~ATIO!(

            .    To the eiientpei:mitted by 12 CFR 7-/2014 and CC>Ilsimem:twifu the requirements of 12
           USC 182.&(k) Md the hnplemcndng regulations .1heietinder.                                  .

                    (a) Blh:nirlllllon:ofCertrunLJability of Directors. A director of 1he Assockuon sha11 not
           be personally ~ to the Associafion or its Bharehol~flrB fQr monefm)'" damag~ for br~h                                                    of
                                                                  for
           fidqciary du.ty BB a director, exoopt for Jiability (1) 11:tly breach of the diroctots, duty of loyalty
            to t i Associ!dion or its shareholders, fn) for acts or o~ns not in good faith or which involve
           -intentional misconduct' or aknowm.g viollition of law. (iii}. under Soofion 174 of the DelllWfll.-e
            ·Genrmil Cor:eomtionLaw, or (iv) for any tratisaotion~ which the director derived an improper
            pel'sonal benefit.

       .    · - (b)(1). lligb.t-_to Ind9mtjiiootiDn. F.ach petkn who WaB or is.11:!ade a party or is ~ned : ·
          to 'l:>e _made a parfy to or is: involved in any·aetion. suit or proceeding,,.;wh$er civil, criniinol, ·. •. _
        · admiDistmtive.or investigative~ a ,rproceeding"), by reason of ~e fact that he or .she, -· ·
          or a person of whom.he or ~ ii the -legal .rcpresentatlve,.iil or W:M a ~ r or o ~ pf fhe
          As~iation ot is or W11B serving at the ~ of~~- Associafion 118 a direetm:';;Offi~ employQe
          or agetttofanothe:r oorpomiion·or ofa p~,Jointvcnture, tmstor other cnfOl'prise, ·
        .,iuclu:ling_rervice wifu~.ct to employ~e benefit plm, _whether the basis of $\1-Cb.,proCCfrllllg is
          allege:~ Qciion ~ Inaction in an official capw::ity ea a: directo;:, officer, eniploye~ror agent or in
          any otfu:r capacity-lwhile sorv.ing BB a director, officer, employee 01· agen\1s~ bejnde!Dllified
          a:nd held harmless l,y the A~on to thefallest extent authorlz.ed by the Delaware Gc:n'.etal
                               as
          Corpor!Uion La-wt the simie-exisfs or may hereafter be !UlleOded' (but. in the gase of any ~h :
             amendmClli; only·to the e~ihat such aµ:1cndmeo.t p ~ the A.ssoqia1ion to provide broader
             indeIIID.ificab •        than i:aid law pena,itted fJie AssQciati.on to provide prior to i:uc-h .
           , ameadme,pt), ~st'all experu:e, liability and loss .(mc~ding attorneysi fees, judginents,· fines,
                                                                                                                                                                                       i
                                                                                                                                                                                       I.

             ER.ISA cxci.$e t!o::C$ ar pc.na,lties IIDd IJ!]lountJ paid orto QC paid jn se:ttlcment),reasonobly
             incuo:ed or suffered by such PCfSOI1 :in CODlleciion ~-ewith and sqchindemnifiootilin shall
                                                             ~   3~


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                                                                                                                               ••••         __ .... --- .-· •""!;!::r ..
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               ...
     -¥!:.. ~ ~ ~-




                        contint1e as to a per:iOn who.has ceas¢ to~ a dh-eotor, officer, employee or agent und shall-~
                       to the benefit ofhis or be.r heirs, execmors md admiiiistrators; provided> however, fuat the
                       ABsociafion shall indemnify        any                                    m
                                                           such person 11ecldng .indemnification romiection with a.
                       p;roceeding (or part ihereoi) ~ttd by suchp~ only if such proceeding {or part th~--ms
                        mrtb01ized by the Boe:rd afDfreotors of the .Association. The right to mdemnilication oonfened
                       in 'this paragraph (b) shall he a contr."!Wt.rlghtanrl shiµl include the rlght 1o be paid .by tb.e     ·
                       Associmop the expenses incurred in defenil:ing any such ~ g i n advance ofiis final
                       qisposition; provided,, however, that, if 'fbe Delaware General Corporation Law requires, the
                       payment ofsuch expenses incurred by a director of o:ffioer in. his or her capaaity•as a direDt.or or
                       officer (lllld noHn any other r;,apaoityin which ~ w~ or is rendei-ed .by such persou while.a
                       direct'or or officer, including, with'out filnitation., service ·to an employee benefit plan) in advance
                       of.the :final disprndaon of a proceeding.' shell be made only upon delivery to tbe Association of iu .
                       qnderlaking, by or o n ~of such director or officer, tii repay all atno'Qllts so adviu:u::ed ifff
                       shall ultimately l?e d ~ that such di.rector o_fofficer is not entilled to be indaoni.fied under
                     · this paragraph ·(h) oro1heiwise. 'Ip.e At,:sociatlon.may; by ac-tion of its Eom:d of D4:ectors,
                       provide indemnificauon to employees and agenls offhe Association wifu the same scope and
                     · effec1:_ as the furegclmg indemnification ?f directors imo of:'ficQrs.                ·

                              · (2) Non-Exclusivity of Ridi,ts. The right 1o indemnification and the paym.~ of
                     · ~ mcuired mdefundbig a. proceeding in advance pf·\t:J final disposition confen-ed in this
                       pu:ragmph (b) shall ncit bo exclm:ive of any other right which imy person may lmve:.or hereafter
                       ~ under any sta1ute, provision oftbe Art.foles ofAssociation, byrlft.w, a.g.recment, vote of .
                       shm:oholdc:rs or disinierested directors.or Qfherwise.                        · ·•

                                (3) ,li:isunmce. 'rtie Association miry roaiotmn iosorance, at its c:xpensQ, to protect itself
                      ·and any director, office-.r, employee or agent of the Associatioo or another co;rpora:!ion,
                       partnership. jointvelllm:ei trust or other el;1teiprlse ag!Jinst any &UCh expcnse1 liability or loss,
                       whether or not '!he. ~ o n would have the power to indemmfy suoh person against              such .
.-                   . ~ . llability or loBS unckir the Delaware Gencml CoipomtiOll Law. .
                                                             ARTICLE vm AMENDMEN'J;'
                                                                            p




                      .        These .Articles of Association.may .be amended at aey regular or i;pecial niooting of the
                       shareholders by the efiirmative vote ofi:tbe holdm of~ :i;najoriey ofthe stock of ,ms Association,
                       unless tlie vote of the holders of a grea.ttr amount of stock is required.by law, IUl.d in that case by
                     · ~ vote cfbolddrs of-sach greater amount.



                                                                                                                                  "



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Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 55 of 92 Page ID #:55




                                                              EXHIBIT "E"




                  EXHIBIT "E"
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 56 of 92 Page ID #:56
         Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 57 of 92 Page ID #:57



           1          Defendant Wells Fargo Barne, N.A. ("Defendant"), for itself and no other

           2   defendant, answers the unverified Class Action Complaint ("Complaint") of Plaintiff

           3   Caudley Simon ("Plaintiff') as follows:

           4          Pursuant to California Code of Civil Procedure Section 431.30(d), Defendant

           5   denies generally and specifically each and every allegation in the Complaint. Defendant

           6   further denies, generally and specifically, that Plaintiff is entitled to the relief requested, or

           7   that Plaintiff has been or will be damaged in any sum, or at all, by reason of any act or

           8   omission on the part of Defendant, or any of its past or present agents, representatives, or

           9   employees, acting in the course and scope of their employment.

          10

          11                                  FIRST AFFIRMATIVE DEFENSE

          12                    1.     The Complaint, and each and every purported cause of action

          13   contained therein, fails to state facts sufficient to constitute a cause of action.

          14
          15                                SECOND AFFIRMATIVE DEFENSE

          16                    2.     The Complaint, and each and every purported cause of action

          17   contained therein, is barred in whole or in part by the applicable statute oflimitations,

          18   including but not limited to California Code of Civil Procedure Sections 337, 338, '339,

          19   340, and 343, California Labor Code Section 203, and California Business and

          20   Professions Code Section 17208.

          21

          22                                 THIRD AFFIRMATIVE DEFENSE

          23                    3. ·   The Complaint, and each and every purported cause of action

          24   .contained therein, is not proper for treatment as a class action because, among other

          25   reasons: (a) Plaintiff is an inadequate representative of the purported class; (b) Plaintiff

          26   cannot establish commonality of claims; ( c) Plaintiff cannot establish typicality of

          27   claims; and (d) the individualized nature of Plaintiffs claims makes class treatment

          28   inappropriate.
453941                                                        2
                    ANSWER OF DEFENDANT WELLS FARGO BANK. N.A. TO PLAINTIFF'S CLASS ACTION COMPLAINT
     Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 58 of 92 Page ID #:58




          1                              FOURTH AFFIRMATIVE DEFENSE
         2                  4.     Plaintiffs purported cause of action for violation of Business and
         3    Professions Code Section 17200, et seq. is barred because provision,s of Section 17200, et
         4    seq. violate the Due Process clause of the United States Constitution.
         5
         6                                FIFTH AFFIRMATIVE DEFENSE

         7                  5. .   Plaintiffs purported cause of action for violation of Business and

          8   Professions Code Section 17200, et seq. is barred because Plaintiff, as a private litigant,
          9   lacks standing to bring a claim for damages under California Business and Professions

         10   Code Section 17203.
         11
         12                               SIXTH AFFIRMATIVE DEFENSE

         13                 6.     Plaintiff's purported cause of action for violation of Business and

         14   Professions Code Section 17200, et seq. is barred because the alleged unlawful business
         15   practices, if any, are not unlawful.
         16
         17                             SEVENTH AFFIRMATIVE DEFENSE

         18                 7.     Plaintiff's purported cause of action for violation of Business and
         19   Professions Code Section 17200, et        is barred because the alleged unfair business
         20   practices, if any, are not unfair within the meaning of Business and Professions Code
         21   Section 17200, et seq.
         22
         23                              EIGHTH AFFIRMATIVE DEFENSE
         24                  8.    The Complaint, and each and every purported cause of action
         25   contained therein, is barred in whole or in part by the doctrine of unclean hands.
         26
         27
         28
453941                                                      3
                   ANSWER OF DEFENDANT WELLS FARGO BANK, N.A. TO PLAINTIFF'S CLASS ACTION COMPLAINT
     Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 59 of 92 Page ID #:59



          1                                 NINTH AFFIRMATIVE DEFENSE

         2                   9.    The Complaint, and each and every purported cause of action

         3    contained therein, is barred in whole or in part by the doctrine of waiver.

         4

         5                                  TENTH AFFIRMATIVE DEFENSE

         6                   10.   The Complaint, and each and every purported cause of action

         7    contained therein, is barred in whole or in part by the doctrine of estoppel.

          8
         9                             ELEVENTH AFFIRMATIVE DEFENSE

         10                  11.   The Complaint, and each and every purported cause of action

         11   contained therein, is barred in whole or in part by the de minimis doctrine.

         12

         13                             TWELFTH AFFIRMATIVE DEFENSE

         14                  12.   The Complaint, and each and every purported cause of action

         15   contained therein, is barred to the extent Plaintiff and those similarly situated, if any,

         16   consented to any alleged activity or conduct.

         17

         18                           THIRTEENTH AFFIRMATIVE DEFENSE

         19                  13.   Plaintiff and those similarly situated, if any, have failed to mitigate

         20   their damages and, to the extent of such failure, any damages awarded should be reduced

         21   accordingly.

         22

         23                           FOURTEENTH AFFIRMATIVE DEFENSE

         24                  14.   To the extent Plaintiff and/or those similarly situated, if any, have

         25   entered into a release encompassing causes of action alleged in the Complaint, their claims

         26   are barred by that release.

         27
         28
453941                                                       4
                   ANSWER OF DEFENDANT WELLS FARGO BANK, N.A. TO PLAINTIFF'S CLASS ACTION COMPLAINT
         Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 60 of 92 Page ID #:60



           1                            FIFTEENTH AFFIRMATIVE DEFENSE
           2                 15.    Plaintiff and those similarly situated, if any, are barred from
           3   recovering penalties pursuant to California Labor Code Section 203 because: (a) Plaintiff
           4   has failed to plead facts sufficient to support allegations of willfulness; and (b) neither
           5   Defendant nor any agent or employee of Defendant acted willfully in failing to pay wages
           6   due, if any, to employees who terminated their employment with Defendant.
           7
           8                            SIXTEENTH AFFIRMATIVE DEFENSE
           9                  16.   Plaintiff's claims for penalties pursuant to California Labor Code
          10   Section 203 are barred, in whole or in part, because Defendant had a reasonable, honest
          11   and good faith belief that all of the wages earned by Plaintiff and those similarly situated,
          12   if any, had been paid to Plaintiff and those similarly situated, if any, in a timely and lawful
          13   manner at the time they were owed.
          14
          15                          SEVENTEENTH AFFIRMATIVE DEFENSE
          16                  17.   Although Defendant denies that it has committed or has responsibility
          17   for any act that could support the recovery of civil penalties in this lawsuit,if and to the
          18   extent any such act or responsibility is found, recovery of civil penalties against Defendant
          19   is unconstitutional under numerous provisions of the United States Constitution and the
          20   California Constitution, including the excessive fines clause of the Eighth Amendment,
          21   the due process clauses ofth~ Fifth Amendment and Section 1 of the Fourteenth
          22   Amendment, the self-incrimination clause of the Fifth Amendment, and other provisions
          23   of the United States Constitution, and the excessive fines clause of Section 17 of Article I,
          24   the due process clause of Section 7 of Article I, the self-incrimination clause of Section 15
          25   of Article I, and other provisions of the California Constitution.
          26
          27
          28
453941                                                       5
                    ANSWER OF DEFENDANr WELLS FARGO BANK, N.A. TO PLAINTIFF'S CLASS ACTION COMPLAINT
     Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 61 of 92 Page ID #:61



          1                            EIGHTEENTH AFFIRMATIVE DEFENSE
         2                    18.   Plaintiff's claims for injunctive and other equitable relief are barred
         3      because Plaintiff and those similarly situated, if any, have an adequate and complete
         4      remedy at law.
         5
         6                              NINETEENTH AFFIRMATIVE DEFENSE
          7                   19.   The Court has no jurisdiction over the subject matter of the Complaint,
          8     or parts thereof, because Plaintiff has failed to exhaust his administrative remedies.
          9
         10                             TWENTIETH AFFIRMATIVE DEFENSE
         11                   20.   Plaintiff and those similarly situated, if any, are not entitled to
         12     penalties or compensation under the applicable Labor Code sections and/or Industrial
         13     Welfare Commission Wage Order( s) because they were at all times authorized and
         14     permitted to take meal and rest periods but freely chose to forego or waive them.
         15
         16                           TWENTY-FIRST AFFIRMATIVE DEFENSE
         17                   21.   Certain members of the putative class are barred, in whole or in part,

         18     from becoming a member of any purported class because of their agreement with
         19     Defendant to resolve through individual arbitration all disputes arising out of their
         20     employment with Defendant.
         21
         22 ·                        TWENTY-SECOND AFFIRMATIVE DEFENSE
         23                   22.    Plaintiff's claim for penalties for purportedly providing him and those
         24     similarly situated, if any, with non-compliant wage statements is barred insofar as
         25     Defendant's conduct, as alleged in the Complaint, was neither knowing nor intentional.
         26
         27                           TWENTY-THIRD AFFIRMATIVE DEFENSE
         28                   23.    Defendant reserves the right to assert additional affirmative defenses
453941                                                        6
                     ANSWER OF DEFENDANT WELLS FARGO BANK, N.A TO PLAINTIFF'S CLASS ACTION COMPLAINT
         Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 62 of 92 Page ID #:62



           1    as discovery proceeds and it becomes aware of additional facts and circumstances that
           2    provide the basis for additional affirmative defenses.
           3
           4            WHEREFORE, Defendant prays for judgment as follows:
           5
           6                   1.     That Plaintiff take nothing by reason of his Complaint;
           7
           8                   2.     That the Complaint herein be dismissed in its entirety with prejudice,
           9    and that judgment be entered for Defendant and against Plaintiff;
          10
          11                   3.     That Defendant be awarded its reasonable costs and attorneys' fees;
          12    and
          13
          14                   4.     For such other and further relief as the Court deems just and proper.
          15.
          16
          17    DATED: January      1_, 2020           KADING BRIGGS LLP
          18                                           THERESA A. KADING

          19
          20
                                                                                         ING
          21
                                                       Attorneys for Defendant
          22                                           WELLS FARGO BANK, N.A.

          23
          24
          25
          26
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453941                                                       7
                      ANSWER OF DEFENDANT WELLS FARGO BANK, N.A. TO PLAINTIFF'S CLASS ACTION COMPLAINT
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 63 of 92 Page ID #:63



  1                                          PROOF OF SERVICE

  2   STATE OF CALIFORNIA                                 )
                                                          ) ss:
  3   COUNTY OF ORANGE                                    )

  4           I am employed in the County of Orange, State of California. I am over the age of 18, and
      not a party to the within action. My business address is Kading Briggs LLP, 100 Spectrum
  5   Center Drive, Suite 800, Irvine, CA 92618.

  6        On January 8, 2019, I served the foregoing document(s) described as: ANSWER OF
      DEFENDANT WELLS FARGO BANK, N.A. TO PLAINTIFF'S CLASS ACTION
  7   COMPLAINT on the interested parties by placing a true and correct copy thereof in a sealed
      envelope(s) addressed as follows:
  8
       Shaun Setareh, Esq.                                   Attorney for Plaintiffs
  9    Thomas Segal, Esq.                                  . CAUDLEY SIMON, et al.
       Farrah Grant, Esq.
 10    Setareh Law Group                                    Email: shaun@setarehlaw.com
       315 Beverly Drive, Suite 315                         Email: thomas@setarehlaw.com
 11
       Beverly Hills, CA 90212                              Email: farrah@setarehlaw.com
 12                                                         Telephone: (310) 888-7771
                                                            Facsimile: (310) 888-0109
 13

        □
                BY ELECTRONIC SERVICE THRU ONE LEGAL ONLINE COURT SERVICES:
 14             Pursuant to C.R.C. 2.251, I caused a copy of the foregoing document to be uploaded to One
                Legal Online Court Services for electronic service on the above-referenced individuals.
 15
                BY MAIL: I caused such envelope, with postage thereon fully prepaid, to be placed in the
 16             United States mail at Irvine, California. I am readily familiar with the practice of Kading     .
                Briggs LLP for collection and processing correspondence for mailing. Under that practice, it
 17             would be deposited with the United States Postal Service on that same day with postage
                thereon fully prepaid at Irvine, California in the ordinary course of business. I am aware that
 18             on motion of the party served, service is presumed invalid if postal cancellation date or
                postage meter qate is more than one day after date of deposit for mailing in affidavit.
 19
         □
                BY FACSIMILE: I caused said document(s) to be transmitted to a facsimile machine
                maintained by the office of the addressee(s) at the facsimile machine number(s) indicated.
 20             Said facsimile number(s) are the most recent numbers appearing on documents filed and
                served by the addressee(s). I received electronic confirmation from the facsimile machine
 21             that said document was successfully transmitted without error. A copy of said electronic
                confirmation is maintained in this office.
 22
         □
                BY OVERNIGHT DELIVERY: I am readily familiar with the practice of Kading Briggs
 23             LLP for the collection and processing of correspondence for overnight delivery and know that
                the docurnent(s) described herein will be deposited in a box or other facility regularly
 24             maintained by the overnight delivery carrier.
                STATE:· I declare under penalty of e ·ury under the laws of the State of California that the
 25             above is true and correct.

 26
 27

 28
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 64 of 92 Page ID #:64




                                                              EXHIBIT "F"




                  EXHIBIT "F"
    Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 65 of 92 Page ID #:65


                                                                                                           Reserved for Cle,k's File Stamp
         ;
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                                  FILED
 Spring Street Courthouse                                                                                 Superb, Court ol Californi~
                                                                                                           County of Los An,~los
 312 North Spring Street, Los Angeles, CA 90012
                                                                                                                 12/02/2019
                   NOTICE OF CASE ASSIGNMENT                                                     Sf1crn 8. <At""~t' E.i-.~u~--~ Ci~,ar l Ot:~ oi<ZOU;-i
                                                                                                                  f




                                                                                                    B1~               SliJV(l Drew           . l):;puty
                           UNLIMITED CIVIL CAS.E

                                                                                           CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 19STCV42777


                            THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE              DEPT      ROOM       ,.,   ·~              ASSJGNED JUDGE                       DEPT             ROOM
    v    IAmy D. Hogue                      7
                                                                                I




    Given to the Plaintiff/Cross-Gomplainant/Attomey of Record              Sherri R. Carter, Executive Officer/ Clerk of Court
    on 12/02/2019                                                                   By Steve Drew                                        , Deputy Clerk
                 (Dute:)
LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
    Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 66 of 92 Page ID #:66


                                   INSTRUCTIONS FOR HANDLING UNUM[TF.D CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7. as applicable in the Superior Court, arc summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January J, 2007. They apply to all general civil cases.

PRrORITY OVER OTHER RULES
The Division 7 Rules shall have prioril)' over all other Local Rules to the extent ihe others arc inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
C11ses assigned to the Independent Calcnd11ring Courts   will be subject to processing under the following time standards:
COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be tiled within 90 days.

CROSS-COMPLAINTS
WiU1out leave of court first being obtained, no cross-complaint may be filed by any party after their aoswer is filed.         Cross-
complaiiits shall be served within 30 days oflhe filing elate and a proofofservice filed within 60 days of the filing dale.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later thun 270 days after the tiling of the
cornplai11L Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcalion, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than l O days before the scheduled trial date. All
parties shall have motio:ns in lirnine, bifilrcation rpotions. statements of majpr evidentimy issues, disp6sitive motions, requested.
form juty ini;tructions, special jmy instrnctions, m_id special jury verdicts ti111ely tiled and served prior to the conference. These
matters may be heard and resolved at this conference. Al least live days be.fore this contcrencc. counsel must also have exchanged
lists of exhibits and witnesses, und have submitted to the cou1i a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose approprfotc sanctions for the failure or refusal to comply with Chap1er Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if apprnpriate, on counsel for a party.

This is not a complete delineation of the Di\'ision 7 or Chapter Three Rules, and adherence only to the above pro\'iSions is
therefore not a guarantee against tltc imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is im11crativc.

Class Actions
Pursuant to Local Rule 2.3, aU class actions shall be filed at the Stmiley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an [ndependcnt
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially 11ssigncd to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed lo be complex within the meaning of California Rules of Court 3.400 et seq., it will be
rnndomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
ren1rned to an fodependent Calendar Cotirtroom for all purposes.




LACIV 190 (Rev 6/18)         NOTICE OF CASE ASSIGNMENT- UNLIMITED CIVIL CASE
LASC Approved 05/06
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                                                            VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                                               The Early Organizational Meeting Stipulation, Discovery
                                                            Resolution Stipulation, and Motions in Limine Stipulation are
  Superior Court of California                              voluntary stipulations entered into by the parties. The parties
  County of Los Angeles

                                                            may enter into one, two, or all three of the stipulations;
                                                            however, they may not alter the stipulations as written,
                                                            because the Court wants to ensure uniformity of application.
  Los Angeles County
  Bar Association                                           These stipulations are meant to encourage cooperation
  Litigation Section

  Los Angeles County
                                                            between the parties and to assist in resolving issues in a
  Bar Association Labor and
  Employment Law Section                                    manner that promotes economic case resolution and judicial
                                                            efficiency.
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                          r.:: !lr:.    ~~:1)-'!:I~!
                                                                The ·following     organizations    endorse    the   goal    of
  Consumer Attorneys
  Association of Los Angeles                                •promoting efficiency in litigation and ask that counsel
                                                            consider: using these stipulations as a volu.ntary way to
                                                            promote communications and procedures ainong counsel
                                                            and with the court to fairly resolve issues in their cases . .

                                                             ♦ Los Angeles County Bar Association Litigation Section ♦
  Southern California
  Defense Counsel

                                                                          ♦ Los Angeles County Bar Association

                                                                          Labor and Employment Law Section ♦

  Association of
  Business Trial Lawyers                                        ♦ Consumer Attorneys Association of Los Angeles ♦


      .       ---- - -                 -.       .
                                                                      ♦ Southern California Defense Counsel ♦
                                   ,


  ' -                 . 11"'-!!Ll.4,..>:        -~
  '              "i                                 .




                                                                     ♦ Association of Business Trial Lawyers ♦ .
  ,-            ·,___,_'-----·~ I




  California Employment
  Lawyers Association
                                                                  ♦ California Employment Lawyers Association ♦


              LACIV 230 (NEW)
              LASC Approved 4-11
              For Optional Use
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NAME AND ADDRESS OF ATTORNEY OR PAATY\'VITHOUT ATTORNEY:                 STATE BAR NU!J2:ER           Reserved for Clc:11,:s File S!.orrip




          TELEPHONE NO.:                                   FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEYFOR(Namel:
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                              CASE NUMBER:
             STIPULATION - EARLY ORGANIZATIONAL MEETING

       This stipulation is intended to encourage cooperation among the parties at an early stage in
       the litigation and to assist the parties in efficient case resolution.

       The parties agree that:

        1. The parties commit to conduct an initial conference (in-person or via teleconference or via
           videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
              whether there can be agreement on the following:

              a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                 amendment as of right, or if the Court would allow leave to amend, co01d an amended
                 complain·t resolve most or all of the issues a demurrer fnight otherwise raise? If so, the parties
                 agree to work through pleading issues so that a demurrer need only raise issues they cannot
                 resolve. Is the issue that the defendant seeks to raise amenable to resoluti'on on demurrer, or
                 would some other type of motion be preferable? Could a voluntary targeted exchange of
                 documents or information by any party cure an uncertainty in the pleadings?

              b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                 employment case, the employment records, personnel file and documents relating to the
                 conduct in question could be considered "core." In a personal injury case, an incident or
                 police report, medical records, and repair or maintenance records could be considered
                 "core.");

              c. Exchange of names and contact information of witnesses;

              d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                 indemnify or reimburse for payments made to satisfy a judgment;

              e. Exchange of any other information that might- be helpful to facilitate understanding, handling,
                 or resolution of the case in a manner that preserves objections or privileges by agreement;

           · f.     Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                    phases of the case. Also, when and how such issues can be presented to the Court;

              g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                 court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                 and whether the parties wish to use a sitting judge or a private mediator or other options as
        LACIV 229 (Rev 02/15)
        LASC Approved 04/11               ST!PULATION - EARLf ORGANIZATIONAi- MEETING
        For Optional Use                                                                                                             Page 1 of 2
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             discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
             complaint;

        h. Computation of damages, including documents, not privileged or protected from disclosure, on
           which such computation is based;

        i.   Whether the case is suitable for the Expedited Jury Trial procedures (see information at
             www.lacourt.org under "Civif' and then under "General lnfonnation").

   2.        The time for a defending party to respond to a complaint or cross-complaint will be extended
             to----,-,-=---------       for the complaint, and _ _ _ _ _ _ _ _ _ _ for the cross-
                      c1NsERT DATE)                                       (INSERT DATE}
             complaint; which is comprised of the 30 days to respond under Government Code§ 68616(b),
             and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
             been found by the Civil Supervising Judge due to the case management benefits provided by
             this Stipulation. A copy of the General Order can be found at www.lacourt.org under "Civif',
             click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

   3.        The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
             and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
             results of their meet and confer and advising the Court of any way it may assist the parties'
             efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
             the Case Management Conference statement, and file the documents when the CMC
             statement is due.

   4.        References to "days" mean calenpar days, unless otherwise noted. If the date f.or performing
             any act pursuant to this stipulation falls on a Saturday, Simday or Court holiday,: then the time
             for performing that act shall be extended to the next Court day

   The following parties stipulate:

   Date:
                                                               ►
                (TYPE OR PRINT NAME)                                       {ATTORNEY FOR PLAINTIFF)
   Date:
                                                               ►
                (TYPE OR PRINT NAME)                                      {ATTORNEY FOR DEFENDANT).
   Date:
                                                               ►
                (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDAN11
   D1:1te:
                                                               ►
                (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANl)
   Date:
                                                               ►
                (TYPE OR PRINT NAME)                                  (ATTORNEY FOR
  · Date:
                                                               >
                (TYPE OR PRINT NAME)                                  (ATTORNEY FOR
   Date:
                                                               ,..'
                (TYPE OR PRINT NAME)                                  (ATTORNEY FOR


   LACIV 229 (Rev 02/15}
   LASC Approved 04/11      STIP,ULATION - EARLY ORGANIZATIONAL ;MEETING                               Page 2 of 2
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 70 of 92 Page ID #:70




NAME M'OAOORESSOl' ATTORNEY OR PARTY IMTHOUT ATTORl<EY;                 STATE BAA NUMBER           RKerwd for Clerk's File Sump




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR /Name):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF .LOS ANGELES
COURTHOUSE ADDRESS:


. PLAINTIFF:

 DEFENDANT:


                                                                                           CASE NUMBER:
                     STIPULATION - DISCOVERY RESOLUTION

       This stipulation is intended to provide a fast and informal resolution of discovery issues
       through limited paperwork and an informal conference with the Court to aid in the
       resolution of the issues.

       The parties agree that:

        1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
           the moving party first makes a written request for an Informal Discovery Conference pursuant
           to the terms of this stipulation.

        2. At the Informal Discovery Conference the Court will consider the dispute preserited by parties
           and determine whether it can be resolved informally.. Nothing set forth herein will preclude a
           party from making a record at the· conclusion of an Informal Discovery Conference, either
           orally or in writing.

        3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
          . presented, a party may request an Informal Discovery Conference pursuant to the following
            procedures:

                   a. The party requesting the Informal Discovery Conference will:

                       i.     File a Request for Informal Discovery Conference with the clerk's office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;           ·

                      ii.      Include a brief summary of the dispute and specify the relief requested; and

                     iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                               that ensures that the opposing party receives the Request for Informal Discovery
                               Conference no later than the next court day following the filing.

                   b. Any Answer to a Request for Informal Discovery Conference must:

                       i.      Also be filed on the approved form (copy attached);

                      ii.      Include a brief summary of why the requested relief should be denied;
        LACIV 036 (new)
        LASC Approved 04/11                     ~TIPULATION - 01spovERY RESOLUT\ON
        For Qptional Use                                                                                                  Page 1 or 3
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 71 of 92 Page ID #:71




            iii.   Be filed within two (2) court days of receipt of the Request; and

            iv.     Be served on the opposing party pursuant to any authorized or agreed upon
                    method of service that ensure·s that the opposing party receives the Answer no
                    later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
           be accepted.              ·

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

       e. If the conference is not held within twenty (20) days of the filing of the Request for
           Informal Discovery Conference, unless extended by agreement of the parties and the
           Court, then the Request for the Informal Discovery Conference shall be deemed to have
           been denied at that time.

   4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
       without the Court having acted or (c) the Informal Discovery Conference is concluded without
       resolving the dispute, then a party may file a discovery motion to address .unresolved issues.

   5. The parties hereby further agree that the time for making a motion to compel or other
       discovery motion is tolled from the date of filing of the Request for Informal Discovery
       Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
       filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
       by Order of the Court.

       It is the understanding and intent of the parties that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing a "specific later date to which
       the propounding [or demanding or requesting) party and the responding party have agreed in
       writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
       2033.290(c).

   6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
      an order shortening time for a motion to be heard concerning discovery.

   7. Any party may terminate this stipulation by giving
                                                    1
                                                         twenty-one (21) days notice of intent to
      terminate the stipulation.

   8. References to "days" mean calendar days, unless otherwise noted. If the.date for performing
      any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
      for performing that act shall be extended to the next Court day.



   LACIV 036 (new)
   LASC Approved 04/11        STIPULATION.-
                                         '
                                            DISCOVERY RESOLUTION
                                                         . .
   For Optional Use                                                                            Page 2 of3
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 72 of 92 Page ID #:72




  1~~~
                                                                     1--·
   The following parties stipulate:

   Date:
                                                      ,-
                                                      \...


                  (TYPE OR PRINT NAME)                               (ATTORNEY FOR PLAINTIFF)
   Date:
                                                      ,.
                                                      \...


                  (T_YPE OR PRINT NAME)                             (ATTORNEY FOR DEFENDANT}
   Date:
                                                      "',-
                  (TYPE OR PRINT NAME)                              (ATTORNEY FOR DEFENDANT)
   Date:
                                                      ►
                  {TYPE OR PRINT NAME)                              (ATTORNEY FOR DEFENDANT)
   Date:
                                                      ►
                  (TYPE OR PRINT NAME)                       (ATTORNEY FOR
   Date:
                                                       ►
                  (TYPE OR PRINT NAME)                       (ATTORNEY FOR
   Date:
                                                       ►
                  (TYPE OR P~INT NAME)                       (ATTORNEY FQR




    LACIV 036 (new)
    LASC Approved 04/11            STIPULATION - DISCOVERY RESOLUTION
    For Optional Use                      I                                                     Page 3 of 3
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 73 of 92 Page ID #:73




NAME AND .-ODRESS OF ATTORNEY OR PARlYVlilTHOUT ATTORNEY:                 STATE BAA NUtABtR                        fleset'led t« Cfu'll.'1111 Fila Stamp




          TELEPHONE NO.:                                    FAX NO. (Oplional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR CName):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
. COURTHOUSE ADDRESS:


PLAINTIFF;


DEFENDANT:


                                                                                                         CASE NUMBER:
                         INFORMAL DISCOVERY CONFERENCE
                (pursuant to the Disco~ery Resolution Stipulation of the parties)
       1. This document relates to:
                   D           Request for Informal Discovery Conference
                   D           Answer to Request for Informal Discovery Conference
       2. Deadline for Court to decide on Request: ________                                    (insert dale 10 calendar days foliowing ming of
              the Request).

       3. Deadline for Court to Mold Informal Discovery Conference: ________ (insert date 20 calendar
             days following filing of the Requ81it).

       4. For a Request for Informal Discovery Conference, briefly describe the nature of the
          discovery disP,ute, including the facts and legal arguments at issu~. For   Answer: to                               an
          Request for Informal Discovery Conference, briefly d~s~ribe why the Court ~hould deny
          the requested i:Uscovery, including the facts and legal arguments at Issue.




        LACIV 094 (new)
        LASC Approved 04/11
                                                     INFORMAL DISCOVERY CONFERENCE
        For Optional Use                   (purs'-'ant to the Discovery Resolution Stipulation of the parties)
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 74 of 92 Page ID #:74




W•MS. ANO AOORS!.S OF ATTORNEY Oil l'ARTY\MTHOUT ATTORNEY:                 STATE BAA l\'UUBER               Rt.~rvod for Cl~tY.$" Fa. Sf.'ltnp




          TELEPHONE NO.:                                     FAX NO. (Oplional);
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR/Name):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF: ·


DEFENDANT:


                                                                                                    CASE NUMBER;
                STIPULATION AND ORDER - MOTIONS IN LIMINE



        This stipulation is intended to provide fast and informal resolution of evidentiary
        issues through diligent efforts to define and discuss such issues and limit paperwork.


        The parties agree that:

        1. At least _ _ days before the final status conference, each party will provide all other
           parties with a list containing a one paragraph explanation of each proposed motion in
           limin~. Each one paragraph explanation m.ust identify the substance of a single proposed
           motion in limine and the grounds for the propos:ed motion.

        2. The parties thereafter will meet and confer, either in person or via teleconference or
           videoconference, concerning all proposed motions in limine. In that meet and confer, the
           parties will determine:

              a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                 stipulate, they may file a stipulation and proposed order with the Court.

              b. Whether any of the proposed motions can be briefed and submitted by means of a
                 short joint statement of issues. For each motion which can be addressed by a short
                 joint statement of issues, a short joint statement of issues must be filed with the Court
                  10 days prior to the final status conference. Each side's portion of the short joint
                 statement of issues may not exceed three pages. The parties will meet and confer to
                 agree on a date and manner for exchanging the parties' respective portions of the
                  short joint statement of issues and the process for filing the short joint statement of
                  issues.

        3. All' proposed motions in limine that are not either the subject of a stipulation or briefed via
           a short joint statement of issues will be briefed and filed in accordance with the California
           Rules of Court and the Los Angeles Superior Court Rules.




         LACIV 075 (new)
         LASC Approved 04/11                STIPULATION AND ORDER ... MOTIONS IN LIMINE
         For Opllonal Use                                                                       '                                      Page1of2
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 75 of 92 Page ID #:75




   The following parties stipulate:

   Date:
                                                 ►
               (TYPE OR PRINT NAME)                             {ATTORNEY FOR PLAINTIFF)
   Date:
                                                 ►
              . (TYP!; OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
   Date:
                                                 ►
               {TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
   Date:
                                                 ►
               (TYPE OR PRINT NAME)                           '(ATTORNEY FOR DEFENDANT)
   Date;
                                                 .,__
                                                 .
                                                     ,..
               (TYPE OR P.R1NT NAME)                       (ATTORNEY FOR


                                                     ►
               (TYPE OR PRINT NAME)                        (ATTORNEY FOR
   Date:
                                                     ►
               (TYPE OR PRINT NAME)                        (ATTORNEY FOR



   THE COURT SO ORDERS.

    Date:
                                                                     JUDICIAL OFFICER




   LACIV 075 (new)
   LASC Approved 04/11    STIPULATION AND ORDER - MOTIONS IN LIMINE                        Page '2 of 2
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What isADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration and settlement conferences. When ADR is done by phone or computer, it may be called Online
Dispute Resolution (ODR}. These "alternatives" to litigation and trial are described below.

Advantages of ADR
     0    _Saves Tirne: ADR is faster than going to trial.
     •     Saves Money: Parties can save on court costs, attorney's fees and witness fees.
     °        Keeps Control with the parties: Parties choose their ADR process aod provider for voluntary~DR .
     .,       Reduces stress/p-rotects privacy: ADR is done outside the cpurtrocim, in private offices, by phone or online.

Disadvantages of ADR
     11    Costs: If the parties do not resolve their dispute, they .may have to pay for ADR and litigation and trial.
     •     No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR:

     1.    Negotiation: Parties often talk with each other in person, or by phone or on line about resolving their case with a
           settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

     2. Mediation: In mediation, a neutral "mediator" listens to each person's concerns, helps them evaluate the
        strengths and weaknesses of their case, and works with them to tryto create a settlement agreement that is
        acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                       Mediation may be appropriate when the parties
                         • want to work out a solution but need help from a neutral person.
                         • have communication problems or strong emotions that interfere with resolution.
                       Mediation may not be appropriate when the parties
                          o   want a public trial and want a judge or jury to decide the outcome.
                          o   lack equal bargaining power or have a history of physical/emotional abuse.

                                                                                                                         LASC1
LASC CJV 271 NEW 03/19
For Mandatory Use
California Rules of Court, rule 3.221
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 77 of 92 Page ID #:77




     3. Arbitration: ArbitratJon Is less formal'than trial, butlike trial, the parties present evidence and arguments_ to the·
        person who decides the outcome. In ;'binding" arbitration, the arbitrator's decision is.final; there-is no -right to
           trial. 1.11 "nonbinding" arbitration, any party ·can request a trial after the arbitrator's t;lecisfon. For-more ·
           informationabo~t arbitration, visit http://www.courts.ca.gov[prog_ram~-adr.htm-

     4. Mandatory Settlement Conferences,(MSC):· MSCs are ordered by the Court and are often held close to the trial
        date. The p·c:3rties and their attorney~ meet with a judge or settlementoffiter who dQe§ .n0t make a dec;Jsion but
        assists the par:ties in evaluating the-strengths and weak!']es~es.,of the case and. In neg6~JaUng a settlement.
           For·informahon ~boutthe Court's. MS~ programs fordvil case~, visit: www.laco~rt.org/division/civil/settlem_ent_




Lo~ Angeles Superior Co1,1rt ADR website: .www.lacourt.org/division/civil/settlement
For general information and .videos aboutADR, visithttp://www'.cpurts._ca.g:ov/programs-adr.htm




                                                                                                                                LASC2
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For Mandatory U~e
California Rules of coul't, rule 3.221
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                                                              EXHIBIT "G"




                 EXHIBIT "G"
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     SUPERIOR COURT-OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                      Central District, Spring Street Courthouse, Department 7

  19STCV42777                                                                    December 20, 2019
  CAUDLEY SIMON vs WELLS FARGO BANK, NATIONAL                                             8:48AM
  ASSOCIATION


  Judge: Honorable Amy D. Hogue                      CSR:None
  Judicial Assistant: Alfredo Morales                ERM:None
  Courtroom Assistant: Teresa Bivins ·               Deputy Sheriff: None

  APPEARANCES:
  For Plaintiff(s): No Appearances
  For Defendant(s): No Appearances




  NATURE OF PROCEEDINGS: Court Order Re Newly Assigned Case

  By this order, the Court determines this case to be Complex according to Rule 3.400 of the
  California Rules of Court. The Clerk's Office has randomly assigned this case to this department
  for all purposes.

  By this order, the Court stays the case, except for service of the Summons and Complaint. The
  stay continues at least until the Initial Status Conference. Initial Status Conference is set for
  02/28/2020 at 10:00 AM in this department. At least 15. days prior to the Initial Status
  Conference, counsel for all parties must discuss the issues set forth in the Initial Status
  Conference Order issued this date. The Initial Status Conference Order is to help the Court and
  the parties manage this complex case by developing an orderly schedule for briefing, discovery,
  and court hearings. The parties are informally encouraged to exchange documents and
  information as may be useful for case evaluation.

  Responsive pleadings shall not be filed until further Order of the Court. Parties must file a Notice
  of Appearance in lieu ofan Answer or other responsive pleading. The filing of a Notice of
  Appearance shall not constitute a waiver of any substantive or procedural challenge to the
  Complaint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
  Code of Civil Procedure Section 170.6.

  Counsel are directed to access the following link for information on procedures in the Complex
  litigation Program courtrooms: http://www.lacourt.org/division/civil/CI003 7.aspx

  Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
  thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
  fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
  or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
                                             Minute Order                                 Page 1 of 2
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 80 of 92 Page ID #:80


     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                      Central District, Spring Street Courthouse, Department 7

  l9STCV42777                                                                    December 20, 2019
  CAUDLEY SIMON vs WELLS FARGO BANK, NATIONAL                                             8:48AM
  ASSOCIATION


  Judge: Honorable Amy D. Hogue                     CSR:None
  Judicial Assistant: Alfredo Morales               ERM:None
  Courtroom Assistant: Teresa Bivins                Deputy Sheriff: None

  dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
  All such fees are ordered to be paid to Los Angeles Superior Court, within 10 days of service of
  this order.

  The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
  Order on all parties forthwith and file a Proof of Service in this department within 7 days of
  service. Certificate of Mailing is attached.




                                             Minute Order                                Page 2 of 2
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 81 of 92 Page ID #:81




                                                                           .             FILED ...
                                                                           SoperiorCou. rt of .Cahtom1a
                                                                               County     of Los Angeles

                                                                                     DEC 20 2019




                    SUPERIOR COURT OF TUE STATE OF CALIFORNIA

                              FOR THE COUNTY OF I..iOS ANGELES



                                                    ) Case No. 19STCV42777
                                                    )
                         Plaintiff,                 j·INITIAL STATUS CONFERENCE ORDER
                                                    )   . .       .   ..   .    ·.   .       .
                                                    ) (COMPLEX LITTGATION)
                                                    )
                      National Association          ) Case assigned fotallpurposes to
                                                    )
                                                    )
                                                      Judge Amy D. Hogue
                         Defendant                  ) Spring Street Courthouse
                                                    ) Department 7
                                                    ) ISC Date: Febmary 28, 2020
                                                    )




         This case has been assigned for all purposes .to Judge Amy D. Hogue, Complex

             Department 7. Counsel for all parties are ordered to appear for an Initial Status

                 February,28,2020at 10:00a.ni. in Department 7,·second Floor, 312 North



      '"".,.,.'""'"' ofthe Initial Status Conference is to identify the most fair and efficient way of

  proceeding with the ca<;e, To that end, the Court strongly encourages the parties to propose any




                                                              1
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 82 of 92 Page ID #:82




  and all approaches to case management that will promote the fair and efficient handling of the

  case. The Court is particularly interested in identifying dispositive or significant issues that may

  be addressed earlier rather than later in the case. For example, if an important issue in the case is

  theadrnissibility ofcritiecll evidence (such as expert testimony), an early motion in Umine to
                 .         .

  decide.that issue may be the most efficient way to proceed. If the Court's interpretation of

  provisforis in a contract is a key issue, it may make sense for the plaintiff to amend the complaint
  (onthe defendant to amend the answer) to atwch a copy of the contract so that the court can

  a:djµdicate the issue in a demurrer,

         The Court orders Counsel fo:r all paitics to meet and confer in person at least 15 days

  before the Initial Status Conference. The purpose of the meeting is to discuss the following

  issues so that counsel can prepare a Joint Statement tobe filed with the Court five court days

  before the Initial Status Conference. Plaintiff's counsel should take the lead in preparing the

  Joint ~tatement andin ensuring that it includes a brief descriptionof the.case and addresses the



         Are there any issues of judicial recusal or disqualification?
          Are any parties improperly named as defendants?

         Will eitherside challenge jurisdiction or venue or .move to compel arbitration?
         What are the key legal and factm:il h,sues affecting each side '.s evaluation of this case?

                     of these key issues suitable for an early adjudication? For example, does it make

                fort.he court to promptly adjudicate a statute of limitation defense, interpret a

          provision in a statute, adjudicate the adequacy of a class representative, or decide the

          admissibility of critical evidence?

         Is the most efficient. procedure for presenting key issues to the court a motion, bifurcated



                                                         2
  Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 83 of 92 Page ID #:83




  1              trial, motion in limine, motion to certify or deny class ceitification, or another
 2
                 proceeding?
  3
            7) How and when do the parties plan to engage in the various forms of discovery?                       1
  4

  5
            8) Does it make sense to bifurcate ce1tain issues for discovery or trial?

  6         9) How will the parties preserve evidence and uniformly identify documents produced in
  7
                 discovery?
  8
            10) Do the parties need to execute a joint stipulation for protective order? The court
  9
                 recommends the model protective orders found on the Los Angeles Superior Court
10

11               Website under "Civil Tools for Litigators."

12          11) Will the parties employ a mediator or ask the Court to order a mandatory settlement
13
                 conference as a means of alternative dispute resolution (ADR)?
14
            12) Does any party have insutance (indemnity or reimbursement) and are there any potential
15

16
                 coverage issues that may affect settlement.

17      In addition to addressing these questions, the parties' Joint Statement must include the following
18      information.
19
            13)The estimated size ofany putative class. 2
20

21

22          14) A deadline for adding and serving any new parties.

23

                 1
                    lfeleclronically stored information must be produced. the court encourages the parties to have their
        respective IT consultants/employees participate in the meet and confer process addressing (I) the information
        management systems employed by the parlies; (2) the location and custodians of information (including the
:2:E:   identification of network and email servers and hard drives maintained by target custodians); (3) the formal in which
 c.;o   eleelronically stored information will be produced; (4) the type ofESI that will be produced, i.e., data files, emails,
27      etc.; (5) appropriate search criteria for focused requests.
                  2
                    In class action/PAGA Initial Status Conferences, the court generally orders the parties to utilize the
28      procedure approved in Bel-Aire West Landscape, Inc. v. Superior Court (2007) 149 Cal.App.4 th 554, sharing the cos
        equally.



                                                                       3
 Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 84 of 92 Page ID #:84




 1       15) The parties' selected e-service provider (Case Anywhere, FileandServeXpress, or Case
 2
              Homepage). 3
 3
         I6)A description (including case numbers) of any related cases pending in other courts
 4

 5
              (including class actions with overlapping class definitions).

 6        17) Whether the parties stipulate that discovery and/or pleading stays entered by the Court fo
 7
              case management purposes are excluded from the five year rule under Code of Civil
 8
              Procedure Section 583.310.
 9

         18) A service list identifying all primary and secondary counsel along with their firm names,
10

11            addresses, telephone numbers, email addresses and fax numbers.

12       19) Recommended dates and times for the following:
13
                  a. The next status conference.
14
                   b. Mediation completion.

16
                  c. A filing deadline (and proposed briefing schedule) for key motions or

17                     proceedings, if any.

18
     To the extent the parties are unable to agree on the matters to be addressed in the Joint
19
     Statement, each side may state its position in point/counterpoint fashion.
20

21

22

23




              3
27              Please note that e-service does not effectuate a justiciable filing with the court. Until Los Angeles
     Superior Court activates e-filing for the complex civil departments, the parties must file or fax file paper documents
28   with the court. Uploading a document onto the e-scrvicc provider's website provides notice to the court and to the
     parties hut does not place them in the public record or effectuate a filing with the court.



                                                                    4
      Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 85 of 92 Page ID #:85




 1               The Court directs each defendant to file a Notice of Appearance for purposes of
 2
        identifying and serving all counsel. The Notice of Appearance shall be without prejudice to any
 3
        affirmative defense, cross complaint, affirmative defense or jurisdictional challenge.
 4

 5
                 All proceedings in this action are otherwise stayed. The Court issues the stay to assist the

 6      Court and the parties in this "complex" case by ensuring, among other things, an orderly

 7
        schedule for briefing and hearings on procedural and substantive challenges to the complaint.
 8
        This stay precludes the filing of any answer, demurrer, motion to strike, or motion challenging
 9
        the jurisdiction of the Court. Although this stay applies to formal discovery, it does not prevent
10

11      the pmties from informally exchanging documents or information that may assist in their initial

12      evaluation of the issues presented in this case. Any future stay ordered by the Court for purposes
1.3
        of case management is not a stay under Code of Cjvil Procedure section 583.310 unless the
14
        Cowt so orders.
15

16
                 The Court orders Plaintiffs' counsel to serve this Initial Status Conference Order on

17      counsel for Defendant(s), or if counsel is not known, on Defendant(s) within five (5) days of the

18
        date of this Order. If the Complaint has not been served as of the date of this Order, Counsel for
19
        Plaintiff must serve the Complaint within five (5) days of the date of this Order.
20

21

22      Dated:    Jl~ C 2 0 2019
23
                                                               Judge of the Superior Court




27

28




                                                              5
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                                                                                            Reserved for Clerk·s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                                                                  FILED
Spring Street Courthouse                                                               Supetiot Courl of Califarrna
                                                                                             C:.Ounty of.UisAilgeles
312 North Spring Street, Los Angeles, CA 90012
                                                                                                 12/20/2019
PLAINTIFF/PETITIONER:                                                         Sf,,;rr; Et   c..~. i!~l'ii.t'-!0~ / Oei,,; •~i Casm
Caudley Simon                                                                   By:             Alft&do Moralas ~ y
DEFENDANT/RESPONDENT:
Wells Fargo Bank, National Association
                                                                              CASE NUMBER:
                        CERTIFICATE OF MAILING                                19STCV42777

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order Re Newly Assigned
Case) of 12/20/2019, Initial Status Conference Order upon each party or counsel named below by placing
the document for collection and mailing so as to cause it to be deposited in the United States mail at the
courthouse in Los Angeles, California, one copy of the original filed/entered herein in a separate sealed
envelope to each address as shown below with the postage thereon fully prepaid, in accordance with
standard court practices.




    Chaim Setareh
    Setareh Law Group
    315 S. Beverly Dr.
    Suite 315
    Beverly Hills, CA 90212




                                                      Sherri   R. Carter, Executive Officer/ Clerk of Court
Dated: 12/20/2019                                     By:   Alfredo Morales
                                                            Deputy Clerk




                                      CERTIFICATE OF MAILING
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 87 of 92 Page ID #:87




                                                              EXHIBIT "H"




                 EXHIBIT "H"
     Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 88 of 92 Page ID #:88



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          6   Attorneys for Defendant
              WELLS FARGO BANK, N.A.
          7
          8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
          9                COUNTY OF LOS ANGELES, SPRING STREET COURTHOUSE
         10

         11   CAUDLEY SIMON, on behalf of                  CASE NO. 19STCV42777
              himself, all others similarly situated,
         12                                                Assigned for all purposes to Hon. Amy D.
                                Plaintiff,                 Hogue, Department 7
         13
                     vs.                                 NOTICE TO ADVERSE PARTY OF
         14                                              REMOVAL OF CIVIL ACTION TO
              WELLS FARGO BANK, NATIONAL                 UNITED STATES DISTRICT COURT
         15   ASSOCIATION, a National Banking            PURSUANT TO 28 U.S.C. §§ 1332(d) AND
              Association; and DOES 1 through 100,       1441
         16   inclusively,
         17                     Defendants.
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                                 NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT
     Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 89 of 92 Page ID #:89




          1   TO PLAINTIFF AND HIS ATTORNEY OF RECORD:

          2
          3          PLEASE TAKE NOTICE THAT a Notice of Removal of this action was filed in
          4   the United States District Court for the Central District of California on January 8, 2020.
          5   A copy of said Notice of Removal and supporting exhibits are attached to this Notice and
          6   are served and filed herewith.

          7

          8
          9   DATED: January 7, 2020 .                  KADING BRIGGS LLP
                                                        GLENN L. BRIGGS
         10                                             THERESAA. KADING
         11
         12
         13
                                                        Attorneys for Defendant
         14                                             WELLS FARGO BANK, N.A.

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                                 NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT
Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 90 of 92 Page ID #:90




                                                               EXHIBIT "I"




                   EXHIBIT "I"
     Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 91 of 92 Page ID #:91



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          6   Attorneys for Defendant
              WELLS FARGO BANK, N.A.
          7
          8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
          9                COUNTY OF LOS ANGELES, SPRING STREET COURTHOUSE
         10

         11   CAUDLEY SIMON, on behalf of                  CASE NO. 19STCV42777
              himself, all others similarly situated,
         12                                                Assigned for all purposes to Hon. Amy D.
                                Plaintiff,                 Hogue, Department 7
         13
                     vs.                                 NOTICE TO STATE COURT OF
         14                                              REMOVAL. OF CIVIL ACTION TO
              WELLS FARGO B ~ NATIONAL                   UNITED STATES DISTRICT COURT
         15   ASSOCIATION, a National Banking            PURSUANT TO 28 U.S.C. §§ 1332(d) AND
              Association; and DOES 1 through 100,       1441
         16   inclusively,
         17                     Defendants.
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                                 NOTICE TO STATE COURT OF REMOVAL OF ACTION TO FEDERAL COURT
     Case 2:20-cv-00211-JAK-AS Document 1 Filed 01/08/20 Page 92 of 92 Page ID #:92




          1   TO THE CLERK OF THE SUPERIOR COURT FOR THE COUNTY OF LOS
          2 · ANGELES:

          3

          4          Attached hereto as Exhibit "l" is a true and correct copy of the Notice to Adverse

          5   Party of Removal of this action to the United States District Court for the Central District

          6   of California. The original Notice of Removal of Civil Action to the United States

          7   District Court was filed with the United States District Court for the Central District of

          8   California with the attached exhibits on January 8, 2020.

          9          The filing of said Notice of Removal effects the removal of the above-entitled
         IO   action from this Court.

         11
         12   DATED: January 7, 2020                    KADING BRJGGS LLP
                                                        GLENN L. BRJGGS
         13                                             THERESA A. KADING
         14

         15

         16
                                                        Attorneys for Defendant
         17                                             WELLS FARGO BANK, :N'.A'.

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                                 NOTICE TO STATE COURT OF REMOVAL OF ACTION TO FEDERAL COURT
